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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


POLICE AND FIRE RETIREMENT
SYSTEM OF THE CITY OF DETROIT,             Lead Case No. 06 Civ. 5797 (PAC)
PLYMOUTH COUNTY RETIREMENT
SYSTEM, STATE-BOSTON RETIREMENT
SYSTEM, and MICHAEL GOLDE, On Behalf
of Themselves and All Others Similarly
Situated,

                       Plaintiffs,

            v.

SAFENET, INC., ANTHONY A. CAPUTO,
KENNETH A. MUELLER, CAROLE D.
ARGO, THOMAS A. BROOKS, IRA A.
HUNT, Jr., BRUCE R. THAW, ARTHUR L.
MONEY, SHELLEY A. HARRISON, and
ANDREW E. CLARK

                       Defendants.




             LEAD PLAINTIFFS’ CONSOLIDATED OPPOSITION
               TO DEFENDANTS’ MOTIONS TO DISMISS THE
           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
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         Lead Plaintiffs submit this memorandum in opposition to the separate motions to dismiss

filed by SafeNet, Inc. (“SafeNet” or the “Company”), the three “Officer Defendants” (consisting

of SafeNet’s former President and CFO, Carole Argo (“Argo”), its former CEO Anthony Caputo

(“Caputo”) and its former CFO Kenneth Mueller (“Mueller”)), and the Compensation Committee

Defendants (consisting of former directors who served on SafeNet’s Compensation Committee).1

                                      PRELIMINARY STATEMENT

         This is a case of egregious and largely admitted accounting fraud. As detailed in the

Consolidated Amended Complaint (“Complaint”), the fraud extended over a multi-year period,

involved a host of accounting manipulations ranging from the backdating of stock options to

various improper revenue recognition practices, and ultimately forced SafeNet to admit that its

previously filed financial statements for the years 2000 through 2005 (and for the first quarter of

2006) were materially false and misleading. ¶¶ 1-3, 61-136, 231-33. 2 Indeed, the facts alleged

herein have already produced a guilty plea to felony securities fraud by SafeNet’s former

President, COO and CFO, defendant Argo, in connection with an ongoing Justice Department

and SEC investigation. ¶¶ 1, 57-60, 234-36. As news of problems with SafeNet’s accounting

was disclosed beginning in February 2006, stunned investors saw the value of their SafeNet

shares plummet by more than 50%, from $32.72 on February 2, 2006 to $14.93 on May 19,

2006 (the first trading day after the Class Period). ¶ 9. Meanwhile, the Officer Defendants --

Argo, Caputo and Mueller -- were enriching themselves by pocketing millions of dollars’ worth

of secretly backdated stock options, and by selling over $9.4 million of their personal holdings of

  1
     This brief also addresses the arguments for dismissal tendered by defendants Andrew Clark and Shelley
Harrison -- two former SafeNet directors who did not serve on SafeNet’s Compensation Committee. These two
Director Defendants are sued only in connection with their role in signing (a) false proxy solicitations in violation of
§ 14(a) of the Securities Act and (b) a false registration statement/prospectus (the “Rainbow Proxy/Prospectus”) in
violation of §§ 11 & 12(a)(2) of the Securities Act, which SafeNet sent to shareholders of Rainbow Technologies,
Inc. (“Rainbow”) to solicit their approval of SafeNet’s acquisition of Rainbow in March 2004.
  2
     Citations to “¶ ___” are to paragraphs in the Complaint.
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SafeNet stock at inflated prices. ¶ 1. SafeNet’s directors -- notably those who sat on its

Compensation Committee and who personally approved SafeNet’s backdated option grants --

similarly collected millions in backdated options and reaped millions in insider selling.

       Given SafeNet’s admitted need to restate its financial statements, Defendants do not

seriously dispute that the Complaint adequately alleges that they signed or otherwise participated

in making materially false or misleading statements concerning SafeNet’s options practices and

its financial condition and performance. The Complaint specifically identifies the date and

content of each of the Defendants’ false and misleading statements (¶¶ 137-211, 318-23). It also

details SafeNet’s myriad fraudulent accounting practices, which included:

       •       improperly accounting for backdated stock option grants;

       •       manipulating its recognition of costs, revenue and earnings in connection with its
               improper accounting for long-term development contracts;

       •       improperly recognizing revenue on “bill and hold” transactions;

       •       improperly recognizing revenue on shipments of product that were unfinished or
               otherwise not ready to be delivered; and

       •       improperly recognizing revenue on accelerated royalty payments.

In addition, the Complaint explains how each of these manipulations violated Generally

Accepted Accounting Principles (“GAAP”). See, e.g., ¶¶ 4-7, 42-47 (explaining how SafeNet’s

issuance of “in-the-money” options, which were “backdated” to earlier dates when SafeNet’s

shares traded at a lower price, was not only flatly contrary to SafeNet’s public disclosures

concerning its options grants, but also triggered clear-cut accounting rules that required SafeNet

to recognize compensation expense in connection with such option grants). The Complaint even

alleges how the estimated impact of just the options-backdating aspect of the fraud was to




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overstate SafeNet’s reported operating income (or understate SafeNet’s reported operating loss)

by 144% in 2002, 65% in 2003, 248% in 2004, and a staggering 2,168% in 2005. ¶¶ 98-99.3

         Although each Defendant (or group of Defendants) asserts a different mix of arguments,

in essence their motions boil down primarily to issues of (1) scienter, and (2) loss causation.

         Numerous cases have held that a pattern of suspiciously timed option grants (as here) is

sufficient on its own to allege scienter on the part of the issuing company and its senior officers.

In the wake of Argo’s recent guilty plea to felony securities fraud, however, there can no longer

be any serious doubt that SafeNet’s backdating manipulations were the product of deliberate

fraud on the part of SafeNet’s top executives (the Officer Defendants), or that the Compensation

Committee Defendants were at least recklessly indifferent to the Officer Defendants’ backdating

manipulations. For example, as Argo testified when allocuting to her guilt under §10(b):

         In mid-2000 I became responsible for overseeing SafeNet’s process for granting and
         documenting stock options. Sometime in December 2001 or early January 2002,
         SafeNet’s compensation committee approved a grant of stock options to me and two
         other individuals, one of whom was the Company’s CEO. The CEO [defendant
         Caputo] asked me to report October 1, 2001, as the date on which his options had
         been approved. SafeNet’s stock price on October 1, 2001 was its lowest stock price
         in the quarter. I agreed to document the CEO’s options as if they had been granted
         on October 1, 2001. I did so, and the compensation committee approved this
         treatment, even though I and others knew that the compensation committee had not
         granted the options on that date. I similarly documented the options granted to me
         and the other individual as if they had been granted on October 1, 2001, even though I
         knew this was untrue.

         By using October 1 as the grant date, SafeNet avoided reporting any compensation
         expense. I knew that if we had used the correct grant date with the October 1
         exercise price, SafeNet would have been required to record the difference between
         the exercise price and the higher stock price on the actual grant date as a
         compensation expense in its financial statements. As a result of using October 1,
         2001 as the grant date, SafeNet’s public filings included inaccurate compensation


  3
    These numbers must be estimated because, even though SafeNet has repeatedly stated that it would issue a
formal restatement of its historical financial statements, SafeNet has been able to avoid having to do so because it
successfully engineered a deal in 2007 with a venture capital firm as part of a “going private” transaction.



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        expense information…. In causing these filings to be inaccurate, I acted willfully
        and with intent to defraud.

        In the following years, with respect to certain [additional option grants], I and
        others at SafeNet selected with hindsight grant dates with a low price from within
        the period when the grant was under consideration. As to these grants, the
        Company did not record a compensation expense. This was wrong, and as a result of
        my conduct the Company’s public filings were inaccurate…

¶ 235, quoting United States v. Argo, 07 CR 683 (JSR) (S.D.N.Y.), Transcript of Plea Allocution

Proceedings, dated October 5, 2007 (emphasis added).

        Indeed, given this allocution, Argo and SafeNet concede that the Complaint adequately

alleges the requisite “strong inference” that they acted with scienter, as required to state a claim

under §10(b) with respect to the options backdating aspects of the alleged fraud (SafeNet Brief at

19, fn.8). However, Argo’s allocution also implicates Caputo and the Compensation Committee

Defendants in willful (or at least reckless) misconduct -- and the Complaint further alleges (a)

how the Compensation Committee Defendants knowingly and repeatedly signed backdated

“unanimous written consents” (“UWCs”) that approved the issuance of backdated options, (b)

how they were themselves significant beneficiaries of backdated options, and (c) how they were

plainly chargeable with knowledge of the Company’s false SEC disclosures concerning

SafeNet’s option grants (which repeatedly and falsely represented that all options granted by

SafeNet had exercise prices “equal to the market value of the underlying common stock on the

date of the grant”).4 ¶¶ 7, 139, 145, 160, 178. See also ¶ 236 (citing 2004 email from Argo to

Mueller advising him of SafeNet’s “practice” of issuing backdated options).

        With respect to Plaintiffs’ “non-options backdating” allegations under §10(b) -- which

are asserted only against SafeNet and the three Officer Defendants -- these defendants all cite


  4
   See, e.g., SafeNet’s Forms 10-K for 2002-2004 (signed by defendants Caputo (all), Argo (2002 and 2003),
Mueller (2004), and Compensation Committee Defendants Brooks (all), Thaw (all), Hunt (all) and/or Money (2005).



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Tellabs, Inc. v. Makor Issues & Rights, Ltd., 127 S. Ct. 2499 (2007) for the proposition that these

claims are not adequately supported by factual allegations giving rise to a “strong inference” of

scienter, as required by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”).

       In Tellabs, however, the Supreme Court emphasized that even under the PSLRA courts

must “accept all factual allegations in the complaint as true” and then determine “whether all of

the facts alleged, taken collectively, give rise to a strong inference of scienter, not whether any

individual allegation, scrutinized in isolation, meets that standard.” 127 S. Ct. at 2509 (emphasis

in original). Here, Plaintiffs describe with particularity how SafeNet artificially inflated its

reported revenue and earnings by manipulating its accounting for long-term contracts, engaging

in “bill and hold” transactions, improperly recognizing revenue on shipments of product that

were unfinished or otherwise not ready to be delivered, and selling future royalty payments at

steep discounts to bolster current earnings. ¶¶ 106-136. Indeed, as a former senior SafeNet

accounting executive confirmed, SafeNet’s CFO, defendant Mueller, would tell him to “go back

and find new numbers” when the Company’s earnings figures fell below expectations, and

Mueller would “intervene … to get the numbers where [Mueller, Caputo and Argo] wanted.”

¶¶ 8, 102. As this same executive stated, the steps taken at quarter-ends at SafeNet to “make the

numbers” were “unlike anything I had ever seen,” and a product of the Officer Defendants being

“in denial” over the erosion in SafeNet’s business during the Class Period. ¶ 101. Similarly,

other confidential sources link Caputo, Argo and Mueller to authorizing, e.g., the improper

recognition of millions in revenue on “bill and hold” transactions and shipments of unfinished

SafeNet product that was not ready to be delivered, with several sources (including the executive

cited above) noting that they or others were fired by the Defendants for challenging SafeNet’s

improper accounting practices and inadequate controls. ¶¶ 102-03, 105, 120-21, 125-27, 131-36.




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       The Complaint’s scienter allegations are further supported by, inter alia, the Officer

Defendants’ significant insider stock sales (¶ 250); SafeNet’s and senior management’s motive to

inflate the Company’s stock price for use as “currency” in closing two major corporate

acquisitions during the Class Period (¶ 251); the timing of defendant Mueller’s termination as

SafeNet’s CFO just before the end of the Class Period (¶ 223); and the compelling evidence of

their own willful or reckless misconduct over a multi-year period as to the options backdating

aspect of the fraud. As in Tellabs, when evaluated in their totality, the resulting inference that

the Officer Defendants acted with scienter “need not be irrefutable,” Tellabs, 127 S. Ct. at 2510,

but it is certainly “at least as likely as any plausible opposing inference.” Id. at 2513.

       Defendants’ other main argument is that Plaintiffs fails to adequately plead loss causation

under Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336 (2005). However, as Dura holds, the

pleading of loss causation is governed by the liberal notice pleading standards of Fed. R. Civ. P.

8(a). Here, Plaintiffs’ allegations of a decline in the price of SafeNet stock in response to a series

of partial disclosures involving issues with SafeNet’s accounting are typical of the kind of loss

causation allegations that courts routinely find sufficient to defeat a motion to dismiss. Although

Defendants effectively ask this Court to require Plaintiffs to allege that the disclosures that

caused SafeNet’s share price to drop were disclosures of the specific fraudulent acts alleged in

the Complaint, Dura did not establish any such requirement. As detailed in §II.C below,

Plaintiffs adequately allege that on each of the three key disclosure dates, the price of SafeNet’s

shares was reacting to disclosure of new information concerning the integrity of its management,

its improper accounting and/or the true financial condition of the Company (which had been

concealed by prior, inflated financial statements) -- as opposed to reacting to “unrelated” or

“confounding” news about the Company. Cf. Dura, 544 U.S. at 342 (contrasting hypothetical




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losses that might occur “after the truth makes its way into the marketplace” to the lack of any

such losses if the investor sells “before the relevant truth begins to leak out”).

       For the reasons summarized above and set forth in further detail below, Defendants’

various motions to dismiss should be denied in their entirety.

I.     STATEMENT OF FACTS

       A.      BACKGROUND

       SafeNet develops, markets, and sells a variety of data encryption and information security

products and services that are used to protect and secure digital identities and communications.

¶ 25. During the Class Period (March 31, 2003 through May 18, 2006), SafeNet and the Officer

Defendants reported financial results that created the false impression that SafeNet was

achieving strong earnings and revenue growth. For example, SafeNet reported increasing

revenues of $32.2 million, $66.2 million, $201.6 million and $263.0 million for fiscal years

2002, 2003, 2004 and 2005, respectively, against total expenses of $33.8 million, $71.5 million,

$200.5 million and $262.9 million for those same years -- a roughly six-fold growth in both

revenues and expenses over this period. ¶¶ 137, 158, 176.

       Fueled by its self-proclaimed “strong” results, the price of SafeNet stock rose to Class

Period highs of over $40 per share, or more than double SafeNet’s share price at the start of the

Class Period. ¶ 2. SafeNet’s purportedly strong financial performance and rising share price

also allowed Defendants to significantly expand the Company’s business on highly favorable

terms by enabling it to finance two major corporate acquisitions using SafeNet’s increasingly

valuable shares as currency. For example, in October 2003, SafeNet announced that it would

acquire Rainbow Technologies, Inc. (“Rainbow”) as part of a $450 million stock-for-stock

merger transaction whereby SafeNet effectively sold 10.3 million shares of its own stock (which

traded at the lofty price of $42.95 per share the day before the transaction was announced) to


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acquire all of Rainbow’s outstanding shares. ¶ 14. In June 2005, Defendants again took

advantage of SafeNet’s purportedly strong performance and resulting high stock price to acquire

another company, MediaSentry, Inc., for a combination of cash and SafeNet shares. ¶ 251.

       B.      DEFENDANTS’ FRAUDULENT ACCOUNTING

       As the Company has since admitted, however, SafeNet’s financial statements from 2000

through 2005, plus the first quarter of 2006 -- more than six full years, or 25 consecutive

quarters -- were all materially false and riddled by myriad accounting improprieties. ¶¶ 9-10,

232. Defendants’ accounting manipulations, although part of a common scheme orchestrated

primarily by defendants Caputo and Argo, can be divided into two general categories: (a) the

options backdating manipulations (in which both the Officer Defendants and Compensation

Committee Defendants actively participated); and (b) the non-options accounting manipulations

(for which only SafeNet and the Officer Defendants are alleged to be liable).

               1.      Defendants’ Options Backdating Manipulations

       Options grants are typically used as currency to attract and retain valuable employees in a

competitive marketplace. Customary option grants (known as “at the money” options) give the

recipient (such as a corporate officer or employee) the right to acquire company stock in the

future at an “exercise price” (or “strike price”) that is equal to the price at which the stock is

trading on the day of the grant. Thus, if the stock price increases over time, the option recipient

will be able to profit by the amount of the increase (and conversely will gain nothing if the stock

price remains flat or falls). “At the money” options also provide certain benefits for the issuing

company and its public shareholders, because (1) they closely align the interests of recipients

(who gain nothing unless the company’s share price increases) with those of public shareholders;

and (b) unlike payments of cash compensation, the issuing company is not required to record any

compensation expense in connection with issuance of such options. ¶¶ 4, 43.


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       However, the options granting process can be abused by “backdating,” which refers to

the practice whereby a company issues options (and fixes their terms) on a given date, but the

options -- instead of being given an exercise price that is equal to the price of the company’s

stock on the date that the options are actually issued -- are backdated to an earlier date when the

company’s shares traded at a lower (and often much lower) price. Options that are backdated so

that their exercise price is below the stock’s market price on the date of issuance are “in the

money” options because, in contrast to “at the money” options (which can be exercised for a

profit only if the value of the underlying stock increases), “in the money” options are issued with

embedded intrinsic value. This intrinsic value is equal to the difference between (a) the exercise

price (which has been backdated to a date when the stock was trading at a relatively low price)

and (b) the market price on the date that the option was actually issued. ¶ 4.

       Not surprisingly, because of the obvious difference between being issued, e.g., (i) an “at

the money” option to buy 25,000 shares at the current market price (say, $20) and (ii) an “in the

money” option to buy the same 25,000 shares at a lower price (say $10) at which the shares had

traded weeks or months earlier, both the SEC and GAAP require companies to treat grants of “in

the money” options very differently than “at the money” options. Specifically, where a company

issues “in the money” options, the SEC and GAAP consider the difference between the value of

the option based on the “exercise price” and the value based on the price of the stock on the grant

date to be a form of compensation to the option recipient that must be expensed and accounted

for as a compensation cost -- which in turn reduces a company’s reported net income and

earnings per share. ¶ 43 (citing Accounting Principles Board Opinion (“APB”) No. 25).

Accordingly, failing to record this intrinsic value of “in the money” option grants will understate

compensation cost and overstate earnings in the year of the grant (and in future years during the




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vesting period of the options) and may also trigger serious adverse tax consequences and I.R.S.

penalties. ¶¶ 5, 44, 50, 164(d-e).

       To avoid any doubt as to what date should be used to determine whether an options grant

is “in the money” and whether compensation cost must be recognized, APB No. 25 also contains

provisions defining a stock option’s “measurement date.” Paragraph 10(b) of APB No. 25

clearly defines the “measurement date” as “the first date on which are known both (1) the

number of shares that an individual employee is entitled to receive and (2) the option or purchase

price if any” (emphasis added). Accordingly, even if documents related to an options grant are

dated as of an earlier date or otherwise manipulated to reflect an earlier date -- i.e., even if the

options are backdated -- the “measurement date” as a matter of GAAP does not occur until the

date that the terms of options award, including the number of options awarded, the option

recipients and the options’ exercise price, are all known and fixed. ¶ 45.

       SafeNet’s stock options were purportedly issued pursuant to written plans (the “Option

Plans”) that were publicly filed with the SEC, ratified by SafeNet’s board and approved by its

shareholders. ¶¶ 42, 47. SafeNet’s Option Plans provided that they were to be administered by

the Compensation Committee, which had the ultimate authority to grant option awards. ¶ 48.

The Option Plans further provided that the exercise price for SafeNet grants “shall be determined

by the [Compensation] Committee, but in no event shall be less than 100% of the fair value of

[SafeNet’s] Common Stock on the Grant Date.” ¶ 48. Similarly, SafeNet’s Class Period SEC

filings (which were signed by both the Compensation Committee and Officer Defendants)

repeatedly assured investors that “all options issued [by SafeNet] had an exercise price equal

to the market value of the underlying common stock on the date of the grant” (¶¶ 138, 145,

159, 177), and that “no gain to the options [granted under the Plans] is possible without stock




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price appreciation, which will benefit all shareholders.” ¶¶ 47, 142, 155, 163, 188.

       However, prior to and during the Class Period, defendants Caputo, Argo and (during his

June 2004 to April 2006 tenure) Mueller, with the knowledge and approval of the Compensation

Committee Defendants, repeatedly caused SafeNet to issue backdated “in the money” options,

and to fail to recognize compensation expense in connection with those option grants in violation

of GAAP. Moreover, to maximize the fruits of their backdating activities and conceal them from

SafeNet’s auditors, analysts and investors, the Officer and Compensation Committee Defendants

routinely backdated SafeNet’s options grants and accompanying Unanimous Written Consents

(UWCs) by papering them as if they had been issued on prior “grant dates” on which SafeNet’s

stock price had closed at or near a periodic low point. ¶¶ 6-7, 71, 78, 84, 89.

       Evidence cited in the Argo Indictment confirms the extent to which backdating was a

pervasive part of SafeNet’s compensation practices from 2000 through 2005. For example,

when defendant Mueller took over as CFO in 2004, Argo sent him an email on September 15,

2004 that advised him to backdate the 100,000 options he received upon his hire to the low price

for the quarter, $22.19 (SafeNet’s closing price on July 28, 2004). As Argo’s email explained:

       Our past practice has been to aggregate options for performance awards or new hires in
       the quarter and pick the best price after the hire date. We then send the unanimous
       consent to the Comp Committee and the options are approved. I think this is a good
       practice because of the volatility of our stock price. Who wants to have an option priced
       on your start date and then have the option underwater a month later when you are
       notified of the award price. ¶ 89 (emphasis added).

The then-members of the Compensation Committee -- defendants Money, Thaw and Brooks --

did not approve Mueller’s July 2004 option grant until months later, when they each signed a

UWC that was backdated to July 28, 2004. By October 9, 2004, when the last Compensation

Committee member signed the UWC, SafeNet’s stock price had jumped to $28.45. As a result,

Mueller and others who received options “granted” on July 28 received an immediate 28% gain



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upon their issuance, and SafeNet should have, but failed to, record an expense of $1,139,320 on

these “in the money” grants. ¶¶ 88-89; see also ¶¶ 92-94 (describing further 50,000 in backdated

Mueller stock options “granted” in September 2005).

         The Complaint similarly identifies numerous occasions when the other two Officer

Defendants and the Compensation Committee Defendants arranged to have the Company issue

themselves lucrative backdated stock options. For example, Caputo and Argo received hundreds

of thousands of stock options that were backdated to show bogus “grant dates” of July 30, 1999,

October 11, 2000, April 3, 2001, May 16, 2001, February 27, 2003, July 17, 2003, May 19,

2004, June 1, 2005 and September 29, 2005. ¶¶ 64, 67, 71, 72, 82, 84, 88, 945; see also Argo

Indictment, Gardner Decl. Ex. B at ¶¶ 52-54.6 The Compensation Committee Defendants – in

addition to approving hundreds of thousands of backdated options for others – also issued

themselves hundreds of thousands of options, many of which were backdated to be immediately

“in the money.” ¶¶ 31-36. For example, Defendants Brooks, Hunt and Thaw had the “good

fortune” of issuing themselves (and their fellow directors) 10,000 options each which were dated

as of February 27, 2003, which was the date on which SafeNet shares closed at their lowest price

($16.47) for all of 2003. ¶¶ 80-83. Equally telling is the fact that the full extent to which the

Officer and Compensation Committee Defendants lined their own pockets by issuing themselves

options during the Class Period was concealed, because (as SafeNet has admitted in post-Class

Period SEC filings) all Defendants violated §403 of the Sarbanes-Oxley Act by failing to

properly report most of the option grants at issue in this case. ¶ 59-60.


  5
     See also Gardner Ex. E (set of price graphs illustrating how SafeNet’s “fortuitously” timed options grants to the
Individual Defendants were repeatedly dated on the days when SafeNet shares traded at quarterly or yearly lows.
   6
     A court can take judicial notice of the contents of court documents as well as SEC filings (also submitted
herewith as exhibits to the Gardner Declaration). See Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007) (judicial
filings); Nat’l City Golf Fin. v. Higher Ground Country Club Mgm’t Co., LLC, 2008 WL 904728, at *8 (S.D.N.Y.
Apr. 3, 2008) (SEC filings).



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               2.     SafeNet’s and the Officer Defendants’ Non-Options
                      Accounting Manipulations

       In addition to engaging in improper conduct relating to options backdating as discussed

above, throughout the Class Period SafeNet and the Officer Defendants also engaged in

pervasive improper revenue recognition activities and other earnings manipulations. As detailed

in the Complaint, this aspect of the fraud included the following manipulations:

●      Improper Accounting for Long-Term Contracts. Much of SafeNet’s business
       involved long-term contracts, where the seller recognizes revenue (and associated costs)
       over the life of the contract (¶¶ 8, 106-115, describing “percentage of completion”
       principles under GAAP’s SOP 97-2). Fairly applied, this allows a company to recognize,
       e.g., 20% of the revenue on a project when it has incurred 20% of the estimated total
       contract completion costs. However, the Officer Defendants manipulated SafeNet’s
       long-term contract accounting, and caused it to overstate its profitability, by artificially
       “adjusting” downward its cost estimates for completing contracts. This enabled SafeNet
       to improperly frontload the recognition of revenue and defer recognition of losses, while
       simultaneously concealing from investors that SafeNet’s current earnings figures were
       inflated -- and that SafeNet’s future earnings from existing long-term contracts would be
       far weaker (and possibly negative) when SafeNet’s actual costs were finally recognized at
       the back end. ¶¶ 116-118. Specifically, although SafeNet constantly lowballed its initial
       estimated contract completion costs and repeatedly experienced cost overruns,
       Defendants would simply record revenue as if there were no cost overrun issues. Thus, if
       SafeNet had initially estimated it would cost $1 million to complete 20% of a project, it
       would assume that it had reached 20% completion of the contract in the quarter when it
       reached $1 million in expended costs -- and would recognize 20% of the revenue on the
       contract in that quarter -- regardless of whether 20% of the project had actually been
       completed based on bona fide project cost figures. ¶ 118. Examples of such
       manipulations, such as those involving a large SONET encryptor contract that Argo and
       Caputo personally supervised, are pled at ¶¶ 116-121. SafeNet later admitted in February
       2006 that it had inflated its total reported earnings for all of 2005 by over 400% due to
       improper recognition of costs and revenue on long term contracts. ¶ 122.

●      Improper Recognition of Revenue on Bill and Hold Transactions. A “bill and hold”
       transaction is a sales arrangement in which a seller bills a customer for product before the
       product is actually shipped. ¶ 123. GAAP generally precludes recognition of revenue on
       such arrangements, requiring the product to be actually shipped to the buyer before
       recognizing any revenue. ¶¶ 123-124. However, as the Complaint details, SafeNet
       regularly engaged in bill and hold transactions (including several that Caputo and Argo
       personally handled or authorized) so that SafeNet could prematurely recognize revenue
       when needed to make quarter-end numbers. ¶¶ 121, 125-127.

●      Improper Recognition of Revenue on Shipment of Unfinished Product. Beginning as
       early as 2003, SafeNet also engaged in the practice of shipping unfinished product to


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       meet its revenue recognition and earnings goals. As a result, SafeNet prematurely
       recognized revenue upon shipment of the product – even though the “sales” would have
       to be reversed in future quarters when SafeNet would be forced to take back and replace
       the defective product. ¶ 129. As detailed in the Complaint, several confidential sources
       confirmed that SafeNet would ship product at the end of each quarter “without going
       through the [quality assurance] steps that [SafeNet’s] contract[s] required [it] to do” so
       that revenue could be prematurely recognized (¶ 132), and that as a result, at quarter’s
       end, “whatever wasn’t bolted down was shipped.” ¶ 130. Similarly, a former SafeNet
       executive described how at the end of 2003, SafeNet delivered to Cisco -- one of
       SafeNet’s most important clients -- product that senior management knew was not ready,
       and that had not passed even minimal initial testing, “so the Company could recognize
       revenue on it.” ¶ 131; see also ¶ 132 (describing “tremendous pressure” placed on
       SafeNet engineers to “sign-off” on shipments of unfinished product).

●      Undisclosed Acceleration of Revenue Recognition on Royalty Payments. When the
       Officer Defendants were unable to meet quarterly numbers through the foregoing
       manipulations, they would mortgage SafeNet’s stream of future royalty revenues from
       prior licensing transactions. Specifically, in connection with its sales of computer chips,
       integrated circuits and intellectual property, SafeNet typically received both an up-front
       fee and a stream of future royalty payments going forward. However, when needed to
       make its numbers, unbeknownst to investors, SafeNet’s senior management would ask its
       customers to pre-pay or buy-out the royalties they owed to SafeNet at a steep discount to
       their present value. Although this allowed SafeNet to report inflated revenues in the
       short-term, it did so at the expense of future payments that analysts and investors had
       built into their assessment of SafeNet’s value. ¶¶ 133-36.

       The Officer Defendants were also able to further their fraud by implementing woefully

inadequate accounting controls that made it much easier for them to “cook the books.” For

example, they never implemented written or Company-wide SOP 97-2 compliance practices, and

actually reprimanded a SafeNet accounting manager when they became aware that this manager

was using a check-list that the manager had used in a prior similar job to ensure compliance with

SOP 97-2. ¶ 120. Similarly, other sources confirmed how Caputo, Argo and Mueller dominated

SafeNet, overrode its internal accounting controls, and set a “tone at the top” that called for

meeting earnings expectations by any means necessary and that did not tolerate those who

questioned their conduct. ¶¶ 101-102. For example, Mueller would regularly tell one of his

senior subordinates to “go back and find new numbers” when they were not in line with

expectations, and would “intervene … to get the numbers where [Mueller, Caputo and Argo]


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wanted.” ¶¶ 8, 102. The Complaint also describes how SafeNet terminated several employees

during the Class Period for challenging the Company’s improper accounting practices (¶¶ 102-

3), while another quit shortly after being hired rather than go along with such practices. ¶ 119.

       In sum, as stated by a former senior Rainbow executive who decided to leave SafeNet

shortly after it acquired Rainbow, Caputo and Argo (with the help of their loyalist, Mueller)

“could do whatever they wanted,” and “even if someone told Tony [Caputo] or Carole [Argo]

that something was wrong or illegal, the person would have to do it anyway or be fired.” ¶ 103.

       As result of Defendants’ myriad accounting manipulations, SafeNet’s Class Period

financial statements were materially false and misleading, and the truth concerning the erosion in

SafeNet’s business and its actual financial condition and performance was concealed.

       C.      THE TRUTH BEGINS TO EMERGE

       Investors did not begin to become aware of significant accounting problems and unethical

behavior at SafeNet until February 2, 2006. On that date, SafeNet disclosed after the close of the

market that it had identified certain “errors” in its previously reported financial statements for the

2d and 3d quarters of 2005 (including an “error” in its accounting for certain government

contracts that would reduce 3d Q 2005 EPS by 8%), that its auditors had been “looking closely at

the Company’s revenue recognition practices” and had required SafeNet to defer recognition of

$1 million in revenue that it had originally planned to recognize in the fourth quarter of 2005,

and that SafeNet had also missed analysts’ consensus earnings per share numbers by $0.10 (or

nearly 20%). In response, SafeNet’s stock price fell 15.2% in heavy trading, closing at $27.75

on February 3, 2006 compared to $32.72 at the close on February 2, 2006. ¶¶ 212-17.

       Analysts understood these disclosures to reveal problems with the integrity of SafeNet’s

management and revenue recognition practices. As one analyst wrote on Monday, February 6:




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       SafeNet disclosed “an error of approximately $600,000…related to an under-
       statement of costs of revenues”…. Interestingly, the expense understatement
       occurred in the same revenue segment where a previous adjustment to profitability
       assumptions resulted in $0.05 of additional EPS in the third quarter. We are troubled
       by the fact pattern here; [SafeNet] lowers its expense assumptions (increasing EPS)
       regarding certain government contracts in its initial 3Q release, only to undertake a
       (stealth?) restatement of these expenses in a later period (lowering EPS).…
       Continued revenue recognition concerns: During its earnings conference call,
       [SafeNet] disclosed that it and its auditors “have looked closely at revenue
       recognition policies” and decided to defer $1 million of revenue previously forecasted
       to be recognized in the fourth quarter. The revenue will now be recognized ratably
       over 2006. This disclosure is another example of SafeNet’s exposure to
       assumptions-based revenue streams, confirming our belief that investors should
       closely scrutinize metrics related to revenue recognition at SafeNet. ¶ 215 (emphasis
       added); see also ¶¶ 213-216.

In late February 2006 SafeNet reiterated the existence of “errors” in its “recognition of costs

under certain long-term production contracts” in 2005 (¶ 218), and in March admitted that it “did

not maintain effective internal control over [its] financial reporting as of December 31, 2005.”

¶ 221. At the same time, however, Caputo downplayed the significance of any accounting issues

by reassuring investors that SafeNet had “already increased accounting personnel and is putting

in place a plan to greatly strengthen our internal review function.” ¶ 221.

       On April 6, 2006, however, the investing public was rocked by further revelations

indicating that the extent of SafeNet’s accounting, financial control and management integrity

problems were significantly greater than had been previously disclosed. These new disclosures

included SafeNet’s announcement that it had terminated Mueller as CFO (and that COO Argo

would be stepping in as interim CFO), and that it would also miss its prior earnings forecast for

the first quarter of 2006. The market reacted swiftly to the news of Mueller’s firing and

SafeNet’s second consecutive earnings miss, as SafeNet’s share price fell another 19.3%, from

$25.97 on April 6, 2006 to $20.96 on April 7, 2006, on heavy volume. ¶ 224.

       Finally, on May 18, 2006, SafeNet announced that it had received a subpoena from the

U.S. Attorney’s Office for the Southern District of New York (“USAO”) demanding information


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about its stock option grants, and that the SEC had launched an investigation into its “stock

option grants to directors and officers” and “certain accounting policies and practices.” ¶ 226.

In response to this latest revelation, SafeNet’s shares plummeted a further 22.3%, from $19.21

on May 18 to $14.93 at the close on May 19, 2006 -- a decline that was the second biggest

percentage decline of any stock on the NASDAQ on that date. ¶ 227. As one analyst report

noted in summarizing the market’s sharp re-evaluation of SafeNet’s shares, “Every time it

appears that the bad news is over with SFNT, there is yet another shoe to drop. With the SEC

now knocking on SFNT’s door, we encourage investors to stay away from this name in the

near-term until the overhang of a potentially prolonged investigation runs its course.” ¶ 229.

       D.      POST-CLASS PERIOD EVENTS: SAFENET ADMITS THAT ITS
               FINANCIALS GOING BACK TO 2000 MUST BE RESTATED, AND
               ARGO PLEADS GUILTY TO FELONY SECURITIES FRAUD

       In subsequent weeks and months, investors’ concerns about the nature and extent of the

rot at SafeNet were only confirmed. For example, in July 2006, SafeNet confirmed that it had

improperly accounted for backdated stock option grants issued to its officers and directors, and

that it would have to further restate its previously reported financial results going back to 2002 to

address this issue. Two months later, in September 2006, SafeNet publicly announced that its

stock option manipulations went back even earlier, to 2000, and that its ongoing “special

committee” investigation had determined that grants between 2000 and 2005 likely had been

improperly accounted for. SafeNet also announced in September that it intended to restate its

financial statements for the years 2000-2005, and for the first quarter of 2006. ¶¶ 230-32.

       The next month, in October 2006, SafeNet announced that it had terminated both Argo

and Caputo. ¶¶ 26-27. Tellingly, all three of the terminated Officer Defendants (including

Mueller) agreed to pay back money to the Company, and to cancel or re-price their previously

granted options. See Gardner Decl. Exhs. C and D.


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       In January 2007, SafeNet reported additional details concerning its upcoming restatement

when it confirmed that -- in addition to correcting its fraudulent accounting for backdated options

and 2005 revenue recognition issues -- it would also have to expand its restatement to correct

further revenue recognition problems in its financial statements for FY 2004, FY 2005 and the

1st quarter of 2006. ¶ 207. However, notwithstanding SafeNet’s repeated representations that it

would issue restated historical financial statements, it was ultimately able to avoid having to do

so, because in early 2007 it entered into a deal under which it was acquired and “taken private”

by a venture capital firm (which freed SafeNet from SEC reporting requirements). ¶ 11.

       In July 2007, the USAO indicted Argo for securities fraud and conspiracy to commit

securities fraud for her role in knowingly preparing false financial statements. The Indictment

identified numerous examples of options backdating from 2000 to 2006 that Argo participated in,

and further charged that during this period “Argo and others known and unknown, engaged in

an illegal scheme to deceive … shareholders … concerning SafeNet’s systematic backdating of

option grants and SafeNet’s failure to record and report compensation expense in connection

with those backdated stock option grants,” Indictment, Gardner Decl. Ex. B at ¶ 14 (emphasis

added). The Indictment further detailed how the backdating scheme financially benefited Argo

and her co-conspirators by giving them not only the benefit of lucrative “in the money” options,

but also by fraudulently inflating SafeNet’s reported earnings, which in turn inflated their

performance-based bonuses and other compensation from 2000 to 2004. See id., ¶¶ 9, 18, 29.

       Having charged Argo with conspiracy, it would appear that the government’s criminal

investigation into the activities of Argo’s as yet un-named co-conspirators -- who presumably

include at least defendants Caputo and Mueller -- is ongoing. ¶ 12. As to Argo, however, the

outcome of the government’s case is known: in October 2007, Argo allocuted to the roles that




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she, Caputo and the Compensation Committee members played in connection with improper

options backdating, and pled guilty to felony securities fraud. In January 2008, Judge Rakoff

sentenced Argo to a $1 million fine and a six month term in federal prison. ¶¶ 58, 235-36.

II.      ARGUMENT

         Under Fed. R. Civ. P. 12(b)(6), the reviewing court must accept as true all well-pled

allegations in the complaint. Tellabs, 127 S. Ct. at 2509. In addition the court “must ‘accept as

true all of the factual allegations contained in the complaint’ and draw all inferences in the light

most favorable to the non-moving party.” Hall v. Children’s Place Retail Stores, Inc., 2008 WL

2791526, at *3 (S.D.N.Y. July 18, 2008) (quoting Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955,

1964 (2007)). As set forth below, Plaintiffs plainly state valid claims against each Defendant.

         A.       The Complaint States §10(b) Claims Against SafeNet
                  and the Officer and Compensation Committee Defendants

         To plead a §10(b) claim, a plaintiff must allege: (i) a misrepresentation or omission;

(ii) of material fact; (iii) made with scienter; (iv) in connection with the purchase or sale of a

security; (v) upon which plaintiff relied; and (vi) that proximately caused plaintiff’s injury. ATSI

Commc’ns v. Shoar Fund, Ltd., 493 F.3d 87, 105 (2d Cir. 2007). Only the third and sixth of

these elements (scienter and loss causation) are seriously contested here7 - and SafeNet and Argo

do not even contest scienter as to the options backdating aspects of the alleged fraud.



  7
     Picking six random allegations, Caputo argues that Plaintiffs somehow fail to allege that “statements
specifically attributable to Mr. Caputo were false.” Caputo Br. at 15-16. Caputo, however, completely ignores the
section of the Complaint entitled “Class Period False and Misleading Statements,” which identifies SafeNet’s
numerous false and misleading Class Period SEC filings -- all of which were signed by Caputo. See ¶¶ 137, 144,
147, 150 153, 158, 168, 172, 176 181, 185, 190, 192, 195, 199, 204 and 211.
   In connection with the non-backdating aspect of the fraud, Mueller asserts that the Complaint does not adequately
allege that SafeNet’s financial statements were false because it “does not specify which improper practices are
reflected in the financial statements and whether they are material.” Mueller Br. at 11. However, Plaintiffs plainly
plead which financial statements are false and why (¶¶ 109, 110, 121, 125-127, 130, 133, 218). Plaintiffs also allege
that these statements were “materially” false (¶¶ 214, 218), as evidenced by SafeNet’s admissions that it needs to
issue a restatement to correct numerous past improper accounting practices (¶¶ 122, 213, 215, 218).



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        B.      The Complaint Sufficiently Pleads Scienter

        To determine whether a complaint pleads the requisite “strong inference” of scienter, a

court must review all of the plaintiffs’ factual allegations in their totality, rather than parse

individual allegations in piece-meal fashion. Tellabs, 127 S. Ct. at 2509; In re Bristol Myers

Squibb Co. Sec. Litig., 2008 WL 3884384, at *16 (S.D.N.Y. Aug. 20, 2008). The inference need

not be “irrefutable, i.e., of the ‘smoking-gun’ genre, or even the most plausible of the competing

inferences.” Tellabs, 127 S. Ct. at 2510. Instead the inquiry is as follows: “[w]hen the

allegations are accepted as true and taken collectively, would a reasonable person deem the

inference of scienter at least as strong as any opposing inference?” Id. at 2511 (emphasis

added); see also City of Brockton Ret. Sys. v. Shaw Group, Inc., 540 F. Supp. 2d 464, 472

(S.D.N.Y 2008) (under Tellabs, a “tie… goes to the plaintiff”).

        In this Circuit, a “strong inference” of scienter can be established at the pleading stage by

alleging either (a) facts showing that defendants had motive and opportunity to commit fraud; or

(b) facts constituting strong circumstantial evidence of conscious misbehavior or recklessness.

ATSI, 493 F.3d at 99. Since Tellabs, the Second Circuit has similarly re-affirmed that a plaintiff

may establish scienter by alleging facts showing that defendants “(1) benefited in a concrete and

personal way from the purported fraud; (2) engaged in deliberately illegal behavior; (3) knew

facts or had access to information suggesting that their public statements were not accurate; or

(4) failed to check information they had a duty to monitor.” Teamsters Local 445 Freight Div.

Pension Fund v. Dynex Capital Inc., 531 F.3d 190, 194 (2d Cir. 2008) (quoting Novak v. Kasaks,

216 F.3d 300, 311 (2d Cir. 2000)).




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               1.      Plaintiffs Allege Strong Circumstantial Evidence of the Officer and
                       Compensation Defendants’ Conscious Misbehavior or Recklessness
                       With Respect to the Options Backdating Aspects of the Fraud

                       (a)    Argo’s Indictment and Guilty Plea

       Based on Argo’s allocution to acting “willfully and with intent to defraud” with respect to

backdating matters, neither she nor SafeNet (as her employer) contest scienter as to themselves.

However, the Complaint’s allegations based on the Argo Indictment and Argo’s Allocution to

securities fraud (Gardner Decl. Exs. A and B) also suffice, standing alone, to support a strong

inference that Caputo, Mueller and the Compensation Committee Defendant also acted

knowingly (or at least recklessly) with respect to the options backdating aspects of the fraud.

       First, Argo’s allocution details how, in December 2001 or January 2002, the

Compensation Committee had approved a large grant of options to Caputo and Argo, and how

Caputo asked Argo to backdate his grant to October 1, 2001, which was the date on which

SafeNet traded at its lowest point in the quarter. Argo’s Allocution further details how she

“agreed to document [Caputo’s] options as if they had been granted on October 1, 2001,” and

how “[Argo] and the Compensation Committee approved this treatment, even though [Argo]

and others knew that the compensation committee had not granted the options on that date.”

¶ 235; Allocution at ¶ 17-18. Caputo’s active and knowing participation in initiating backdating

for his own personal benefit could hardly be more clearly alleged – and the complicity of the

Compensation Committee Defendants is equally plain in that they “approved this treatment” and,

furthermore, plainly did so by approving (in December 2001 or later) paperwork that Argo

admitted was backdated on its face to show a bogus “grant date” from months earlier.

       Similarly, the Complaint and the Argo Indictment further implicate the Compensation

Committee Defendants by making it clear that they signed numerous backdated UWCs that

“bore the dates that Argo and her co-conspirators had selected for the option grants” – thereby


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creating a fraudulent paper trail to make it appear that the options had been approved and issued

on earlier dates (when SafeNet’s stock price was trading at a lower price), rather than on the date

on which the options were actually approved. Indictment at ¶¶ 25, 33. For example, the

backdated papers that the Compensation Committee also signed and approved included

(1)      a backdated UWC allegedly approving another large options grant to Caputo on
         October 8, 2002 (when SafeNet traded at $13.75) – even though the committee did not
         approve the grant until October 24 (when SafeNet share price had increased 36% to
         $18.75) – thereby allowing Caputo to receive 100,000 in-the-money options with an
         immediate intrinsic value of $500,000 (¶ 78; Indictment at ¶ 43);

(2)      a backdated UWC allegedly approving options grants to Argo (and others) on July 17,
         2003 (when SafeNet traded at $31.35) – even though the committee did not execute the
         UWC until nearly two months later on September 15, 2003 (when SafeNet’s share price
         had increased nearly 25% to $38.85) – thereby allowing Argo alone to receive in-the-
         money options with immediate intrinsic value of $75,000 (¶ 84, Indictment at ¶ 50); and

(3)      a backdated UWC allegedly approving options grants to Mueller on July 28, 2004 (when
         SafeNet traded at $22.19)– even though the committee did not execute the UWC until
         more then ten weeks later on October 9, 2004 (when SafeNet’s share price had increased
         28% to $28.45) – thereby allowing Mueller to receive 100,000 in-the-money options with
         immediate intrinsic value of $626,000 (¶ 89, Indictment ¶ 53).

See also ¶ 90. Such specific allegations of their repeated signing of backdated paperwork refutes

any suggestion that the Compensation Committee Defendants were “unaware” of backdating.8

         Third, the Complaint details the contents of Argo’s September 2004 email to Mueller,

which advised him that it was SafeNet’s “practice” to “aggregate options for performance

awards and new hires in the quarter and pick the best price,” and to “then to send the unanimous

consent[s] to the comp committee” for approval after-the-fact. ¶ 236. This allegation alone

similarly raises a strong inference of scienter as to Mueller.
  8
    A review of the suspicious timing of other options grants to the Officer and Compensation Committee
Defendants, among others, as set forth in the Complaint (at ¶¶ 62-94) and also as graphically illustrated in Gardner
Decl. Ex. E, clearly shows a pattern that supports a strong inference, pre-discovery, that numerous other option
grants issued and approved from 1999 to 2005 were similarly backdated. See, e.g., Middlesex Ret. Sys. v. Quest
Software Inc., 527 F. Supp. 2d 1164, 1181 (C.D. Cal. 2007) (graphs showing allegedly backdated grants over time
“len[t] substantial support to the notion that no amount of ‘highly technical’ accounting treatments can obscure the
obvious that someone at Quest was engaging in substantial, prolonged, and intentional backdating of stock
options”) (emphasis added).



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         Given these damning facts, Defendants attempt to argue that there is nothing illegal about

issuing backdated in-the-money options, provided that they are properly accounted for. This

“argument,” however, ignores the fact that the very raison d’etre of backdating is to allow

options to be issued on “in-the-money” terms that are highly favorable to the option recipient

while simultaneously creating a paper trail of backdated documentation whose only utility is to

(a) allow the company to “justify” not recording compensation expense on them, and (b) help

conceal the resulting fraudulent accounting from being subsequently discovered. 9 Indeed,

courts have repeatedly agreed that the primary reason to backdate options is to facilitate the

fraudulent accounting for such options. See, e.g., In re Openwave Sys. Sec. Litig., 528

F. Supp. 2d 236, 241-42 (S.D.N.Y. 2007) (backdating options gave the recipients “an instant

opportunity for profit” while allowing the company to materially underreport compensation

expenses and artificially inflate EPS); In re Take-Two Interactive Sec. Litig., 551 F. Supp. 2d

247, 294-95 (S.D.N.Y. 2008) (backdated options could not have been procured if compensation

expenses and earnings were accurately reported). As stated in the Argo Indictment, “[p]roper

accounting reporting of these in-the-money options would have alerted regulators, investors,

SafeNet’s auditors and others of the backdating.” Indictment ¶ 17.

         Similarly, any argument that any defendant here did not understand the proper accounting

treatment for options is disingenuous (see Comp. Com. Br. at 3). It was no accident that, for

nearly six years, these defendants repeatedly authorized options to be “issued” as of dates when

SafeNet traded at historic low points, and repeatedly executed UWC’s that they knew on their

face were part of a backdated paper trail, in blissful ignorance of the likelihood – if not near
  9
     See also Testimony Concerning Options Backdating Before the U.S. Senate Committee on Banking, Housing
and Urban Affairs (Sept. 6, 2006) (statement by Christopher Cox, SEC Chairman), available at
http://www.sec.gov/news/testimony/2006/ts090606cc.htm (the “purpose of disguising an in-the-money option
through backdating is to allow the person who gets the option grant to realize larger potential gains -- without the
company having to show it as compensation on the financial statements”).



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certainty – that this backdated paperwork would be used to “justify” fraudulent accounting

treatment of those options that would significantly inflate SafeNet’s reported earnings. There is

simply no other reason to prepare and sign a backdated UWC. See In re Zoran Corp. Derivative

Litig., 511 F. Supp. 2d 986, 996 (N.D. Cal. 2007). The role of Caputo, Mueller and the

Compensation Committee Defendants in intentionally documenting numerous backdated options

thus plainly supports a strong inference of scienter, and even if they did not “know” the relevant

(and clear-cut) GAAP rules for accounting for options – which is most unlikely since they all

signed Form 10-K’s describing APB No. 25 (e.g., ¶ 177), Mueller was CFO, and defendants

Brooks, Hunt and Money also served on SafeNet’s Audit Committee (¶¶ 31-32, 33) – their role

in backdating documents was a blatant “red flag” evidencing reckless misconduct.

       Finally -- as if any further showing were required – the Compensation Committee

Defendants have no real explanation for how they could have repeatedly signed SEC filings (see

¶¶ 26-34), whose accuracy they attested to, that falsely represented that all of the options granted

by SafeNet had exercise prices “equal to the market value of the underlying common stock on

the date of the grant” (¶¶ 7, 139, 145, 160, 178), and that “no gain to the options is possible

without stock price appreciation, which will benefit all shareholders.” ¶¶ 142, 155, 163, 182,

188. Having knowingly signed backdated UWCs authorizing backdated option grants, their

making of such false and misleading statements was patently reckless, at best.

                       (b)     The Officer Defendants’ Executive Positions and
                               Defendants’ Failure to Monitor and/or Investigate

       Caputo’s and Mueller’s positions in the Company add to the inference of scienter against

them, especially since they signed statements that materially misrepresented the Company’s

financial condition as a result of their backdating scheme. See Openwave, 528 F. Supp. 2d at

250 (finding participation in fraud where defendants signed statements that materially



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misrepresented company’s financial condition as a result of backdating scheme). As alleged,

Caputo and Mueller both signed, and in some cases certified as true, Forms 10-Q and 10-K filed

with the SEC during the Class Period. These filings contained materially false information

regarding the Company’s option grants. ¶¶ 26, 28, 137-140, 144-152, 158-187, 192-211. At the

time Caputo and Mueller signed these respective filings, each had been participating in the

backdating scheme, knowing that on the actual grant dates the quoted market price of the

Company stock was above the option price. ¶¶ 61-96.10

         The Officer and Compensation Committee Defendants’ scienter can also be inferred from

their “fail[ure] to check information they had a duty to monitor” and their failure to investigate.

Medis Investor Group v. Medis Techs.,Ltd., No. 07-3230, 2008 WL 3861364, at *4 (S.D.N.Y.

Aug. 18, 2008) (citing Dynex, 531 F.3d at 194); Plymouth County Ret. Ass’n v. Schroeder, 2008

WL 4254151, at *18 (E.D.N.Y. Sept. 5, 2008) (directors “had a duty to investigate whether

[their] statements were accurate”). For example, the Compensation Committee Defendants were

responsible for ensuring that the exercise price for granted options were not less than 100% of

the fair-market value of SafeNet’s stock price on the date that each option was actually granted,

in accordance with SafeNet’s Option Plans. ¶¶ 42-52. Further, as Audit Committee members,

Brooks, Money and Hunt had the additional duty to monitor the exercise prices and dates of

granted options and to disclose any non-compliance with SafeNet’s Option Plans or proper

options accounting guidelines. Given these duties, these Defendants were, at the very least,

reckless in not knowing that there was rampant, improper backdating of options at SafeNet and

that this rampant backdating would have significant financial consequences. See Take-Two, 551


  10
      “When a corporate Officer signs a document on behalf of the corporation, that signature will be rendered
meaningless unless the officer believes that the statements in the document are true.” Zoran, 511 F. Supp. 2d at 1013
(citing Howard v. Everex Sys., Inc., 228 F.3d 1057, 1061 (9th Cir. 2000)).



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F. Supp. 2d at 300-01; see also Openwave, 528 F. Supp. 2d at 250 (failure to fulfill a “duty to

monitor” the exercise dates of options gives rise to inference of scienter).

                           (c)      The Size and Duration of the Options Fraud

         The options backdating aspects of the fraud were perpetuated over at least a six year

period (2000-2005), and involved the issuance of hundreds of thousands of backdated options

to numerous persons, including hundreds of thousands to the Officer and Compensation

Committee Defendants themselves.11 ¶¶ 64-94. The massive scope of the backdating scheme –

both in terms of duration and sheer number of affected stock options and option recipients –

further supports a strong inference of scienter.12 See In re Monster Worldwide, Inc. Sec. Litig.,

No. 07-2237, 2008 WL 623339, at *2 (S.D.N.Y. Mar. 4, 2008); In re Global Crossings, Ltd. Sec.

Litig., 322 F. Supp. 2d 319, 347 (S.D.N.Y. 2004) (“the scope of the fraud alleged may

appropriately be considered in determining whether scienter has been adequately pled.”).

Similarly, the financial impact of just the options aspects of the alleged fraud on SafeNet’s

reported earnings was enormous, as it caused the Company’s reported operating income to be

overstated (or its operating loss to be understated) by 144% in 2002, 65% in 2003, 248% in

2004, and a staggering 2,168% in 2005. ¶¶ 98-99.


  11
      As the Complaint alleges, the Officer and Compensation Committee Defendants received backdated options on
numerous occasions – with exercise prices that matched the Company’s lowest share price for the month, quarter
and/or year. Specifically: (1) Caputo received 690,000 backdated options over nine grant dates; (2) Mueller
received 150,000 backdated options over two grant dates; (3) Brooks received 40,000 backdated options over four
grant dates; (4) Hunt received 65,000 backdated options over six grant dates; (5) Thaw received 65,000 backdated
options over six grant dates; and (6) Money received option grants on four occasions (however, because Money
failed to file appropriate Forms with the SEC there is no public information on the date his options were granted).
See Gardner Decl. Exs. E-K; see also Quest, 527 F. Supp. 2d at 1182 (finding “extremely fortunate [grant] dates
give rise to a strong inference that backdating occurred and that it was done intentionally”).
   12
      Thus the sheer volume of backdated options, the temporal length of the fraud and the receipt of numerous
backdated options by these Defendants renders unavailing the Compensation Committee Defendants’ argument (Br.
at 18-19) that Plaintiffs somehow “fail[ ] to place any of the grants in context” by failing to allege that the number
of backdated grants was significant compared to any “properly issued” grants that may have been made during the
same period. See also Take-Two, 551 F. Supp. 2d at 296 (finding failure to maximize profit by backdating all
options does not undermine showing of motive or other scienter given the large number of backdated options).



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                           (d)      The Circumstances of the Officer Defendants’
                                    Involuntary Departure From the Company

         The inference of scienter as to Argo, Caputo and Mueller is further strengthened not only

by the fact that they were forced to resign as the scandal was breaking or shortly thereafter but

also by the fact that each was forced to surrender much of the ill-gotten benefits they received

through their fraud. Take-Two, 551 F. Supp. 2d at 294. Indeed, upon their departure, SafeNet

cancelled and re-priced all three defendants’ stock options and forced them to repay over $1.6

million.13 See Gardner Decl. Exs. C and D.

                  2.       Plaintiffs Allege Strong Circumstantial Evidence of the Officer
                           Defendants’ Conscious Misbehavior or Recklessness With Respect to
                           the Improper Revenue Recognition Aspects of the Fraud

                           (a)      The Confidential Witnesses’ Accounts of Defendants’
                                    Improper Accounting Practices

         The Complaint recounts numerous Confidential Witnesses (“CWs”) who confirm that the

Officer Defendants were at the very heart of widespread improper revenue recognition practices,

and thus were well aware that they and SafeNet were misrepresenting to investors the

Company’s financial results. This CW information serves as an adequate basis to infer scienter

as to the Officer Defendants (and SafeNet) in connection with their revenue recognition and cost

deferment practices.14 See, e.g., In re Atlas Air Worldwide Holdings, Inc., Sec. Litig., 324

  13
      Specifically, the settlement agreements provided: (1) for Caputo - the cancellation of certain of his options, an
increase in strike price of other options and the payment of $1.5 million to the Company; (2) for Mueller - his
payment of $15,000 to the Company and the cancellation of certain options granted to him; and (3) for Argo - the
cancellation of certain of her options, an increase in strike price of other options and the payment of $100,000 to the
Company.
   14
      The Officer Defendants challenge Plaintiffs’ reliance on confidential witnesses. See Mueller Br. at 2; Caputo
Br. at 15. In this Circuit, however, a complaint may rely on confidential sources so long as they are described with
sufficient particularity to support the probability that a person in the position occupied would possess the
information alleged. See 380544 Canada, Inc. v. Aspen Tech., Inc., 544 F. Supp. 2d 199, 224 (S.D.N.Y. 2008)
(citation omitted); see also In re American Express Co. Sec. Litig., 2008 WL 4501928, at *7 (S.D.N.Y. Sept. 26,
2008) (collecting cases considering confidential sources, post-Tellabs). Here, the Complaint identifies nine CWs by
position, explaining why each was in a position to know the information supporting the allegations of fraud,
including: evidence of defendants’ direct participation in improper accounting practices, details of their direct
contact and interaction with defendants, and explanations of how they gained an understanding of what defendants
                                                                                                          ( continued…)


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F. Supp. 2d 474, 493 (S.D.N.Y. 2004) (crediting former employee statements on a motion to

dismiss); Teamsters Local 445 Freight Div. Pension Fund v. Bombardier Inc., 2005 WL

2148919, at *13 (S.D.N.Y. Sept. 6, 2005) (same).

        Here, the detailed accounts of Plaintiffs’ CWs confirm that the Officer Defendants (see

¶¶ 101-136) were actively involved in SafeNet’s revenue and earnings manipulations. For

example, CW 2, who reported directly to defendant Mueller, recounted that he was told on

several occasions by Mueller to “go back and find new numbers” when the Company’s earnings

fell short of expectations; and that when CW 2 wouldn’t accede to improper accounting methods,

CW 2 was cut out of the process of preparing financial results by Mueller and was eventually

fired. ¶ 102. Similarly, CW 5, a senior Rainbow executive who participated in “due diligence”

meetings with Caputo and Argo, confirmed that Rainbow’s CFO was “very outspoken” to

Caputo and Argo about how they should not be recognizing revenue in the manner they were

during merger talks with SafeNet. ¶¶ 104-05. Nonetheless, Caputo and Argo responded that

they would continue to recognize revenue their way. ¶ 105.

        Numerous other CWs confirmed that the Officer Defendants engaged in improper

accounting needed to meet revenue or earnings targets. For example, CW 7, CW 4, and CW 8 (a

financial analyst who focused on Sarbanes-Oxley compliance and reported directly to the Vice

President of Finance), confirmed three specific examples of improper “bill and hold”

transactions initiated by the Officer Defendants. ¶¶ 125-128. In fact, CW 7 attempted to raise

issues with a certain bill and hold transaction where revenue was recognized on products not yet

built, only to be told that Argo and Caputo were “ok with and personally handling” the

transaction. ¶ 125. CW 7 was terminated shortly thereafter after continuing to raise questions
(… continued)
knew about the improper accounting practices. See ¶¶ 100-136. That level of particularity is sufficient to show
these confidential witnesses were in a position to possess the information alleged.



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about the accounting for this transaction. ¶ 126. Another former employee, who was hired

specifically to review SafeNet’s accounting practices, also complained of improper accounting

treatments, and left her position with the Company when those complaints were ignored by

senior management. ¶ 118.

       In addition to manipulating bill and hold transactions, the Complaint alleges how the

Officer Defendants were involved in improper recognition of revenue on SafeNet’s long-term

contracts, which were at the core of SafeNet’s operations. According to CW 6, who served as a

director of channel development at SafeNet, the Company repeatedly manipulated its accounting

for long-term contracts in its top-secret Mykotronx division whenever it was short on revenue.

¶ 117. Similarly, CW 3, who was a lead cost and program control analyst responsible for

forecasting earnings for major projects at SafeNet’s Mykotronx division, alleges that SafeNet’s

method of long-term contract accounting allowed it to inflate its reported earnings and accelerate

revenue recognition. ¶ 118. CW 7, an accounts receivable manager familiar with GAAP for

revenue recognition on long-term development contracts, also described a $12.4 government

contract, for which Argo was one of the “team leaders,” and how Argo and Caputo personally

authorized the improper accounting treatment for this transaction under which the recognition of

the true costs on this project were deliberately deferred. ¶¶ 118, 121. In addition to the above

accounting improprieties, Plaintiffs’ sources also recounted how Caputo and Argo approached

customers during the Class Period, including Cisco and Texas Instruments, to improperly “play

with the royalty numbers” by selling future expected royalty payments at a steep discount so that

SafeNet could prematurely recognize revenue. ¶¶ 134-135.

       The Officer Defendants’ admitted failure to implement adequate internal accounting




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controls further adds to the strong inference of scienter.15 Indeed, not only did SafeNet lack

written or company-wide SOP 97-2 compliance practices (a situation that accounting manager

CW7 described as “very uncomfortable and strange”), but CW7 also detailed how s/he was

actually reprimanded when senior management became aware that s/he was using a check list

that s/he had used in a prior job to ensure compliance with GAAP. Similarly, former accounting

executive CW2 who reported to Mueller stated that neither Mueller or Argo “took SOP 97-2

seriously.” ¶120. That Defendants fired various accounting employees for refusing to go along

with their inappropriate accounting is further evidence of their scienter. ¶¶ 102-103, 119.

                           (b)      SafeNet’s Admitted Need To Restate Its Financials

         SafeNet’s admissions that it would need to restate its financial statements for 2004, 2005

and the first quarter of 2006 to correct for its past improper accounting for long-term contracts

and other revenue recognition and earnings manipulations (¶¶ 212, 218) further support a strong

inference of scienter against the Officer Defendants. See In re MicroStrategy, Inc. Sec. Litig.,

115 F. Supp. 2d 620, 635 (E.D. Va. 2000) (although admissions of GAAP violations alone does

not establish scienter, they have “significant inferential weight in the scienter calculus”); see also

In re Complete Mgmt. Sec. Litig., 153 F. Supp. 2d 314, 334 (S.D.N.Y. 2001) (allegations of

GAAP violations “may be one of several ‘red flags’ that support an inference of scienter.”)16.

                           (c)      The “Core Operations Doctrine”
                                    Supports an Inference of Scienter

         Courts have also repeatedly held that improper accounting and the resulting false and


  15
      Indeed, SafeNet admitted that its internal controls over revenue recognition were inadequate, ¶ 221, thus
further supporting a strong inference that the Officer Defendants acted with scienter. See Hall, 2008 WL 2791526,
at *10 (citing In re Veeco Inst. Sec. Litig., 235 F.R.D. 220, 232 (S.D.N.Y. 2006)) (a “failure to maintain sufficient
internal controls to avoid fraud is … indicative of scienter”).
   16
      That Argo (and SafeNet) admit their scienter as to the options backdating aspects of the fraud (and that the
scienter of Caputo and Mueller is firmly pled as well), further supports the inference that these defendants were
equally capable of acting knowingly (or at least recklessly) with respect to the other aspects of the alleged fraud.



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misleading financial statements concerning information that is critical to a company’s core

operations is attributable the company and its officers. See Medis, 2008 WL 3861364, at *8.

Here, the fact that accounting improprieties involved SafeNet’s critical long-term contracts for

its core products further support a strong inference of scienter.

               3.      Plaintiffs’ Motive and Opportunity Allegations Provide Additional,
                       Independent Grounds For Strongly Inferring Defendants’ Scienter

       The Officer and Compensation Committee Defendants also had sufficient motive and

opportunity to commit the alleged fraud, as evidenced by: (1) the concrete benefits that each

received, and (2) their means and prospects of achieving these concrete benefits as a result of

their roles and duties at SafeNet. See ATSI, 493 F.3d at 99.

                       (a)     Motive

       As Plaintiffs allege, the Officer and Compensation Committee Defendants had clear

motive to commit the alleged fraud, as evidenced by the respective concrete benefits they

received, including the intrinsic value of backdated options, the proceeds of their lucrative

insider stock sales, and the benefits arising from their use of inflated SafeNet shares as currency

to acquire other companies. See In re Amaranth Natural Gas Commodities Litig., 2008 WL

4501247, at *8 (S.D.N.Y. Oct. 6, 2008) (explaining that sufficient motive allegations entail

concrete benefits resulting from the fraud); In re IPO Sec. Litig., 544 F. Supp. 2d 277, 286

(S.D.N.Y. 2008) (same).

       Each of the Officer and Compensation Committee Defendants was granted at least tens of

thousands of backdated options on multiple occasions. Backdated options are inherently

concrete benefits “because they represent a species of compensation different from the one

ordinarily accumulated by corporate officers and directors: In distinction to standard stock

options, the returns on backdated options are immediate and risk-free.” Openwave, 528



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F. Supp. 2d at 249-50; see also Take-Two, 551 F. Supp. 2d at 294 (holding defendants’ receipt of

backdated options provided “ample motive to commit fraud”).17

         Necessarily, Defendants’ backdating activities involved statements that misrepresented

its compliance with SafeNet’s Options Plans and overstated SafeNet’s earnings. ¶¶ 97-99.

These fraudulent statements were integral to the options aspect of the fraud, because it is likely

that none of the Defendants (or other SafeNet employees) could have received backdated options

in the absence of such fraudulent statements. Take-Two, 551 F. Supp. 2d at 294. As in Take-

Two, had SafeNet properly reported earnings during the Class Period (by treating backdated

options as compensation expenses) “questions naturally would have arisen regarding [the

Company’s] compliance with its options plans, thereby potentially upsetting the entire options-

backdating scheme.” Id. at 294-95. In sum, the Officer and Compensation Committee

Defendants each had significant motive to make fraudulent statements regarding SafeNet’s

Option Plans compliance and earnings in order to conceal and perpetuate the backdating scheme

in which they all participated and benefited18. Id. at 295, citing Openwave, 528 F. Supp. 2d at

249-50 (defendants who received backdated options had motive to perpetuate securities fraud).

         Specifically, the defendants sold over 471,000 shares of their personal holdings in

SafeNet for proceeds of over $14.5 million, $9.4 million of which was collected by the Officer

  17
      Defendant Caputo asserts that because certain backdated options were issued prior to the start of the Class
Period, those option grants should be deemed irrelevant. See Caputo Br. at 12. However, as Judge Cote explained
in Openwave, the improper accounting for backdated option grants affects all subsequent financial statements until
those options are fully vested (which typically occurred over four years at SafeNet). 528 F. Supp. 2d at 250.
Moreover, as in Openwave, each of the Officer Defendants – including Caputo – continued to work for SafeNet
through the Class Period, “and the inference of scienter extends from their pre-class period receipt of the options
into the class period during which the fraud is alleged to have continued.” Id.
   18
      Likewise, the Officer Defendants had equally strong motive to issue fraudulent financial statements with the
intent to conceal and further the other aspects of the alleged accounting fraud, which included improper revenue
recognition practices and accounting improprieties in violation of GAAP. See ¶¶ 245-54; Bristol Myers Squibb,
2008 WL 3884384, at *18 (“the Second Circuit has found scienter sufficiently alleged where there was a strong
motive not to disclose fraud”) (citing In re Time Warner, Inc. Sec. Litig., 9 F.3d 259, 270 (2d Cir. 1993)); see also In
re Tommy Hilfiger Sec. Litig., 2007 WL 5581705, at *4 (S.D.N.Y. July 20, 2007) (finding GAAP violations coupled
with intent to further tax fraud scheme sufficient to allege scienter).



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Defendants. ¶ 250. See Tellabs, 127 S.Ct. at 2509 (“personal financial gain may weigh heavily

in favor of a scienter inference”). Furthermore, SafeNet was able to use its artificially inflated

stock price as “currency” to acquire two other corporations during the Class Period, including

Rainbow, which it acquired for $10.3 million SafeNet shares valued at $377 million. ¶ 251. See

IPO, 544 F. Supp. 2d at 293 (finding sufficient inference of scienter against those defendants that

used their securities as currency to acquire other corporations); Bristol Myers Squibb, 2008 WL

3884384, at *19 (finding scienter against officer defendant at the “very heart” of a fraudulent

accounting scheme to misstate earnings and to maintain an artificially inflated company stock

price).

          Finally, by engaging in a scheme to misstate earnings, SafeNet was able to portray itself

as a healthy company meeting expectations and secure a much-needed government contract in

the third quarter of 2005 -- the largest in the Company’s history. ¶¶ 252-53. Indeed, it was only

after that contract failed to provide an immediate boost to Company’s earnings that SafeNet

revealed that it would have restate its earnings due to “errors.”

                         (b)    Opportunity

          Here, there can be little doubt that both the Officer Defendants had the opportunity to

commit the alleged fraud, by virtue of their high-ranking management positions and control over

the options process at the Company. See ¶¶ 26-30, 48-49. See Pension Comm. of the Univ. of

Montreal Pension Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163, 181 (S.D.N.Y. 2006)

(“courts often assume that corporations, corporate officers, and corporate directors would have

the opportunity to commit fraud if they so desired.”) (citing Time Warner, 9 F.3d at 269

(assuming defendants had opportunity to manipulate stock).

          Similarly, each of the Compensation Committee Defendants had sufficient opportunity to

perpetuate the alleged backdating fraud. See Take-Two, 551 F. Supp. 2d at 297-98 (noting the


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“oft-cited” presumption that corporate directors have the opportunity to commit fraud). The

Compensation Committee Defendants were members of the committee that played a central role

in SafeNet’s options granting process and had the ultimate authority and responsibility both for

awarding stock options and for determining their exercise price in compliance with SafeNet’s

Stock Option Plans.19 ¶¶ 31-39, 47-52, 61-96; see also Quest, 527 F. Supp. 2d at 1183 (finding

that defendants knew or should have known of the company’s backdating practices because

defendants’ “respective positions on the Compensation Committee, Audit Committee, as CFOs,

etc.” gave them knowledge of the option grant process).

                 4.       Summary

        In sum, for all the foregoing reasons – particularly when viewed in their totality as

required by Tellabs - the Complaint adequately alleges scienter as to all aspects of the fraud with

respect to SafeNet and the Officer Defendants, and with respect to the options backdating aspects

of the fraud with respect to the Compensation Committee Defendants. See, e.g., Dow, 411 F.3d

at 1024 (allegations of domineering top management, defendants’ suspicious stock sales, stock-

for-stock acquisitions, and specific allegations of individual defendants’ roles in accounting

improprieties all combined to support strong inference of scienter).

        C.       The Complaint Adequately Alleges Loss Causation

        The Complaint also more than adequately alleges “loss causation,” i.e., that Defendants’

stock option backdating and related accounting fraud inflated the value of SafeNet shares during


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     In addition, Brooks, Money and Hunt were also members of SafeNet’s Audit Committee, which oversaw the
accounting treatment of stock options. ¶¶ 31-39. This dual control of granting and overseeing the accounting for
stock options provided ample opportunity for these Compensation Committee Defendants to backdate options and
perpetuate the fraudulent accounting of them. See Quest, 527 F. Supp. 2d at 1183 (noting such dual positions gave
defendants “detailed knowledge of when the options were actually granted”); In re Comverse Tech.., Inc. Sec. Litig.,
543 F. Supp. 2d at 134, 143 (E.D.N.Y. 2008) (finding scienter, after noting that certain defendants were members of
the Compensation and Audit Committees and therefore had significant familiarity with the accounting rules
applicable to stock options).



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the Class Period, and that the disclosure of negative information relating to the fraud or its

consequences removed that inflation, causing Plaintiffs damages.

                  1.       Dura and Rule 8’s Notice Pleading Standard

         To prevail on a § 10(b) claim, a plaintiff must show that “defendant’s misrepresentation

… proximately caused the plaintiff’s economic loss.” Dura, 544 U.S. at 346. At the pleading

stage, however, the Supreme Court held that loss causation allegations are governed by the

notice pleading standards of Rule 8(a)(2). Id. at 356. In accord with Rule 8, Dura further stated

that at the pleading stage a securities fraud plaintiff need only “provide a defendant with some

indication of the loss and the causal connection that the plaintiff has in mind,” and that §10(b)’s

loss causation requirement is “not meant to impose a great burden upon a plaintiff.” Id. at 347

(emphasis added). In sum, in accord with Rule 8, a plaintiff need only provide a short and plain

statement giving “notice of what the relevant economic loss might be or of what the causal

connection might be between the loss and the misrepresentation.” Id. (emphasis added).20

         Not surprisingly, numerous courts have held that loss causation issues are rarely

appropriate for resolution on a motion to dismiss under Rule 8. See, e.g., Emergent Capital Inv.

Mgmt. LLC, v. Stonepath Group, 343 F.3d 189, 197 (2d Cir. 2003) (loss causation “is a matter of

proof at trial and not to be decided on a Rule 12(b)(6) motion to dismiss”); In re Gilead Scis.

Sec. Litig., 536 F.3d 1049, 1057 (9th Cir. 2008) (“so long as the plaintiff alleges facts to support

a theory that is not facially implausible, the court’s skepticism is best reserved for later stages of

the proceedings when the plaintiff’s case can be rejected on evidentiary grounds”); McCabe v.




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    The Dura Court did not attempt to set out what specific events or disclosures need to be alleged to show the
cause of the plaintiff’s loss. Id. at 346 (“We need not, and do not, consider other proximate cause or loss-related
questions”).



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Ernst & Young LLP, 494 F.3d 418, 427 n.4 (3d Cir. 2007) (same).21 Similarly, other courts have

noted that disputed loss causation issues are best resolved with the help of expert testimony

based on a full record, rather than on the pleadings. See, e.g., Gebhardt v. ConAgra Foods, Inc.,

335 F.3d 824, 831-32 (8th Cir. 2003) (declining to resolve disputed loss causation issues “absent

sufficient facts and expert testimony, which cannot be considered at this [12(b)(6)] procedural

juncture”). In sum, dismissal on loss causation grounds in this Circuit is only appropriate in the

rare situation where a plaintiff fails to plead any facts supporting causation. Lentell v. Merrill

Lynch & Co., 396 F.3d 161, 172-77 (2d Cir. 2005).

                  2.       Plaintiffs More Than Adequately Allege At Least “Some Connection”
                           Between the Fraud and a Decline in SafeNet’s Stock Price

         Consistent with Dura and Rule 8, Plaintiffs allege both that SafeNet’s stock price was

inflated due to defendants’ alleged misrepresentations and that Plaintiffs suffered losses as the

market responded to disclosures of the fraud or its consequences.

         As discussed above, the Complaint alleges in detail the numerous elements of

Defendants’ fraudulent course of conduct that caused SafeNet’s reported financial statements to

be materially inflated and misrepresented its options granting practices. As shown below, the

Complaint also specifically identifies a series of three partial disclosures relating to Defendants’

fraudulent conduct that caused SafeNet’s stock price to decline, as follows:

•        After the close of the market on February 2, 2006 the Company announced that: (i) the
         Company’s previously disclosed earnings for the second and third quarters of 2005
         needed to be restated to correct for, inter alia, a $600,000 understatement in the
         recognition of costs under certain long-term government contracts; (ii) the Company
         would miss analysts’ consensus earnings estimates for the fourth quarter of 2005; and
         (iii) the Company’s auditors had been reviewing SafeNet’s revenue recognition policies
    21
     See also In re IPO Sec. Litig., 241 F. Supp. 2d 281, 374 n.136 (S.D.N.Y. 2003) (Scheindlin, J.) (“Unless a
plaintiff pleads decisive supervening causes for its loss and thus pleads itself out of court, the requirement that a
court draw all factual inferences in favor of a plaintiff at the motion to dismiss stage will usually preclude any
finding of a supervening cause. . . . While plaintiffs’ losses may not be attributed to the instances of misconduct they
have broadly alleged, I am unable to conclude that they cannot be attributed to the alleged fraud”).



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       and had required SafeNet to defer recognition of $1 million in revenue that the Company
       had originally planned to recognize in the fourth quarter of 2005. ¶¶ 212-14. In response
       to these disclosures, SafeNet’s stock price declined 15.2% (from $32.72 per share at the
       close on February 2 to $27.75 on February 3), on heavy volume. ¶ 217;

•      On April 6, 2006 SafeNet announced that it would be missing its prior earnings forecasts
       for the first quarter of 2006 and that it had terminated defendant Mueller as CFO,
       indicating that SafeNet’s accounting, financial control and reporting problems were even
       more serious than previously reported. ¶¶ 223-24. In response, SafeNet shares declined
       19.3% (from $25.97 on April 6 to $20.96 on April 7), again on heavy volume. ¶ 224; and

•      On May 18, 2006, SafeNet announced that the Company had received a subpoena from
       the USAO for the Southern District of New York demanding information about the
       company’s stock options grants, and that the SEC had also demanded information
       “relating to stock option grants to directors and officers of the company, as well as
       information relating to certain accounting policies and practices.” In response, SafeNet’s
       stock price declined a further 22.3% (from $19.21 at the close on May 18, 2006 to $14.93
       on May 19), on exceptionally heavy volume. ¶ 226-27.

Defendants do not (and cannot) dispute that each of these disclosures had a prompt and material

adverse impact on SafeNet’s stock price.

       On their face, each of the alleged partial disclosures was also related to the alleged fraud

or its consequences. For example, as the Complaint alleges, analyst reports issued after the

February 2 disclosures confirm that the market was concerned that SafeNet’s disclosures of the

need to restate its accounting for certain contracts and of its auditor scrutiny of certain revenue

recognition issues raised broader questions about the Company’s revenue recognition practices.

E.g. ¶ 216 (analyst report noting that neither of these items might have been “large” as “isolated

incidents,” but together raised concern as to whether they were becoming part of a “pattern”).

Similarly, the disclosures of earnings misses in both February and April can plausibly be

construed as partial disclosures related to the alleged fraud, as a company’s actions to

prematurely recognize revenue in prior periods (as alleged here) will often result in a situation

where the company will ultimately have to disclose an earnings shortfall. ¶ 136. In other words,

a defendant’s past practice of “recognizing tomorrow’s income today” can certainly manifest



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itself, at least initially, in the form of a disclosure of a significant current earnings miss, rather

than in the form of a disclosure of past acts of fraud. See, e.g., In re Daou Sys., Inc., 411 F.3d

1006, 1026 (9th Cir. 2005) (sharp price decline in response to company’s announcement of

earnings miss adequately alleged causal connection to underlying revenue recognition fraud).22

Similarly, investors understand that the termination of a company’s CFO (particularly in the

wake of recent prior disclosures raising questions about the integrity of management’s

accounting practices) is typically a “red flag” signal of serious accounting issues, even if the

news is unaccompanied by specific disclosures that explicitly link the dismissal to specific acts

of misconduct. See, e.g., In re Winstar Commc’ns, 2006 WL 473885, at *14 (S.D.N.Y. Feb 27,

2006) (“the market may learn of possible fraud [from] a number of sources: e.g. […] analysts

questioning financial results, resignation of CFO’s or auditors…”) (quoting In re Enron Corp.

Sec. Derivative & ERISA Litig., 2005 WL 3504860, at *16 (S.D. Tex. Dec. 22, 2005)).

Moreover, with respect to the May 18 disclosures of the government investigations into

SafeNet’s options backdating practices, there can be no serious dispute that analysts and the

market as a whole reacted in sharply negative fashion to disclosure of sudden and very serious

concerns that SafeNet had lied about its past options practices, that it would have to restate its

financials to properly account for prior backdated option grants, and that it could well face civil

sanctions from the SEC as well as criminal prosecution.



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      Similarly, the Second Circuit has recognized that loss causation can be found where damages were caused by
an event that is not a disclosure of any fraud at all, but is the disclosure of events or circumstances that the fraud
itself foreseeably caused. For example, in Suez Equity Investors L.P. v. Toronto-Dominion Bank, 250 F.3d 87 (2d
Cir. 2001), plaintiffs alleged that defendants had failed to disclose that the company’s CEO lacked appropriate
management ability and in fact had a previous record of business failures. Plaintiffs alleged that they incurred losses
when the company disclosed that it was filed for bankruptcy. Although was no “corrective disclosure” of the CEO’s
woeful qualifications until after the bankruptcy, the disclosure of the foreseeable consequences of the CEO’s lack of
experience (i.e., the bankruptcy) and resulting losses -- rather the disclosure of the CEO’s checkered past – provided
the requisite causal connection. Id. at 95-98 (and summarizing Second Circuit case law).



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               3.      Defendants’ Argument That The Complaint Must
                       Allege a “True Corrective Disclosure” Is Without Merit

       Nonetheless, Defendants contend that Plaintiffs fail to plead loss causation under Dura

because the Complaint fails to identify a “true corrective disclosure” that “reveal[ed] the fraud.”

SafeNet Br. at 10. As to options backdating, Defendants argue that the partial disclosures relied

upon did not explicitly reference SafeNet’s financial statements or reveal that SafeNet would

have to restate its prior accounting for options, and were therefore not “corrective.” As to the

non-backdating aspects of the fraud, Defendants argue that the disclosures relied upon did not

specifically disclose the same improperly accounted for transactions, or all of the same types of

accounting improprieties, identified in the Complaint, and disclosed a more narrow restatement

than Defendants later admitted was required, and thus were also not corrective.

       Nothing in Dura, however, provides any support for Defendants’ theory that a plaintiff

must plead a corrective disclosure as to each particular accounting machination that was used

to artificially inflate SafeNet’s reported results, together with a corresponding stock drop. To the

contrary, Dura did not establish any requirements as to the particular form or quality of the

disclosures. See In re Motorola Sec. Litig., 505 F. Supp. 2d 501, 540 (N.D. Ill. 2007) ([Dura]

did not, however, indicate what form a disclosure must take, how completely it should reveal

previously misrepresented or concealed information, or how specifically it must refer to that

information”); In re Bradley Pharms., Inc. Sec. Litig., 421 F. Supp. 2d 822, 827-28 (D.N.J. 2006)

(same). Moreover, instead of speaking in terms of disclosures in which “all is revealed,” Dura

noted that loss causation can be established by evidence of shares being sold after “the relevant

truth begins to leak out,” and that a complaint need only provide “some indication of the loss and

causal connection that the plaintiff has in mind.” Dura, 544 U.S. at 342, 347; see also Tommy

Hilfiger, 2007 WL 5581705, at *3 (“[P]laintiff must establish that his losses were attributable to



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some form of revelation to the market of the wrongfully concealed information”) (emphasis

added) (quoting In re WorldCom, Inc. Sec. Litig., 2005 WL 2319118, at *23 (S.D.N.Y. Sept. 21,

2005)).

          Post-Dura cases in the Second Circuit and elsewhere have also rejected the argument

advanced by Defendants here that proof of loss causation requires evidence specifically

identifying or explicitly correcting a previous representation, or expressly disclosing the

particular fraudulent scheme the plaintiff alleges. A corrective disclosure need not be an explicit

correction of defendants’ false statements; instead, a “misstatement or omission is the ‘proximate

cause’ of an investment loss if the risk that caused the loss was within the zone of risk concealed

by the misrepresentations and omissions alleged by a disappointed investor.” Lentell, 396 F.3d

at 173 (explaining loss causation is established when a misstatement or omission concealed

something from the market that, when disclosed, negatively affected the value of the security).

Moreover, loss causation can plainly be premised on partial revelations that do not uncover the

complete extent of the falsity of a specific prior statement. See Take-Two, 551 F. Supp. 2d at

283. (explaining disclosure must simply reveal “at least part of the falsity of the misstatement”).

In other words, there is simply no requirement that a corrective disclosure be “the linguistic

mirror image of the alleged fraud.” In re Bristol-Myers Squibb Sec. Litig., 2005 WL 2007004, at

*20 (D.N.J. Aug. 17, 2005). “Indeed, reading Dura to require proof of a complete, corrective

disclosure would allow wrongdoers to immunize themselves with a protracted series of partial

disclosures.” Freeland v. Iridium World Commc’ns, Ltd., 233 F.R.D. 40, 47 (D.D.C. 2006).

          Judge Scheindlin’s recent decision in Children’s Place is instructive. There, the court

upheld a complaint alleging the defendants had engaged in a manipulative scheme to artificially

inflate financial results by failing to disclose (i) significant problems with an agreement to




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acquire Disney stores and sell Disney related merchandise, (ii) violations of the company’s

internal control policies, and (iii) improper backdating of its stock option grants. In discussing

loss causation collectively, Judge Scheindlin found that the “allegations in the Complaint, taken

as a whole and drawing all reasonable inferences in plaintiffs’ favor, are adequate to plead that

the Company’s financial statements were materially misstated and the market was not informed

of the nature and extent of [its] problems,” and that “[a] reasonable inference can be drawn from

the facts and circumstances outlined above that disclosing the company’s alleged fraud in July

and August of 2007 caused the stock price to fall and resulted in economic loss.” 2008 WL

2791526, at *11 (emphasis added).

       Bradley also provides useful analysis. There, plaintiffs alleged that the defendants

engaged in a sham sale to inflate the company’s quarterly income. On the last day of the class

period the company announced that the SEC was investigating whether there had been

“violations of the federal securities laws,” and that the SEC had sought information “with respect

to revenue recognition and capitalization of certain payments.” 421 F. Supp. 2d at 824-25.

Defendants argued that the press release was not corrective because it did not specifically

mention the sham transaction alleged in the complaint, and involved only a “generally worded”

SEC inquiry into revenue recognition issues. The court, however, disagreed:

       Our securities laws do not operate in a vacuum. Defendants’ contention that the
       announcement of the SEC inquiry did not satisfy Dura’s “revelation of the truth”
       requirement fails to acknowledge the significance of the market reaction to the
       February 28, 2005 disclosure. On February 28, 2005, immediately after Bradley
       disclosed the news of the SEC investigation and announced that the Company would
       delay the release of its earnings for 2004, Bradley’s stock price dropped $3.50 per
       share, or 26.4%. As the Complaint alleges, the number of Bradley shares traded on
       February 28 reached 2,709,200, reflecting an unusually high volume of trading
       activity. * * *

       As the Supreme Court noted in Dura, “pleading rules are not meant to impose a great
       burden upon a plaintiff.” Dura; 125 S. Ct. at 1634. As Plaintiffs have alleged that
       the price of Bradley’s stock dropped after the truth regarding Defendants’ alleged


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         misrepresentations became known, this Court finds that they have pled, at this stage
         of the litigation, sufficient facts to satisfy the loss causation requirement and to
         provide Defendants “with some indication of the loss and the causal connection that
         [they have] in mind.” Id.

Here, as in Bradley, allegations of disclosures of government investigations, combined with an

accompanying significant stock drop on heavy volume, satisfy Rule 8’s pleading standard.

         With respect to the option backdating aspects of the alleged fraud, many courts have

found allegations of loss causation to be adequately pled based on disclosures of government

options backdating investigations similar to those alleged here. See, e.g., Openwave, 528

F. Supp. 2d at 253-54 (announcements that the SEC was investigating company’s stock option

grant practices and that company had received subpoenas from two United States Attorneys

concerning option grants sufficient to plead loss causation).23

         Apparently recognizing that courts routinely find loss causation on disclosures of

governmental investigations, Defendants suggest that for such allegations to be sufficient there

must be “multiple disclosures during the purported class period of some aspect of the alleged

fraud that reinforce one another.” SafeNet Br. at 13. However, none of Defendants’ cases holds

that multiple class period disclosures are necessary when basing loss causation on the existence

of a governmental investigation. To the contrary, cases in this Circuit and elsewhere have found

loss causation based upon a single class period disclosure of a governmental investigation. See

Take-Two, 551 F. Supp. 2d at 286-87 (loss causation properly predicated upon single disclosure

that SEC was conducting informal investigation into the company’s historic stock option grants,

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     See also Rudolph v. UTStarCom, 2008 WL 4002855 (N.D. Cal. Aug. 21, 2008) (announcement of internal
investigation into stock option grants, without any disclosure that prior financial statements would need to be
revised, sufficient to plead loss causation); Take-Two, 551 F. Supp. 247 (disclosure of SEC investigation into
company’s option grants sufficient to plead loss causation); In re Juniper Networks, Inc. Sec. Litig., 542 F. Supp. 2d
1037, 1049 (N.D. Cal. 2008) (reports that identified Juniper as a high risk for options backdating and
announcements that its prior financial statements could not be relied upon adequately alleged loss causation); In re
UnitedHealth Group PSLRA Litig., 2007 WL 1621456 (D. Minn. June 4, 2007) (Wall Street Journal article
reporting that United Health executives had received backdated options sufficient to plead loss causation);



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which was followed by significant negative market reaction);24 Tommy Hilfiger, 2007 WL

5581705, at *3 (loss causation properly predicated upon single disclosure that USAO had served

subpoenas on company, followed by significant stock drop); Bradley, 421 F. Supp. 2d at 827-28

(loss causation properly predicated on single disclosure that SEC was conducting an informal

inquiry into the company’s “revenue recognition and capitalization of certain payments,”

followed by significant stock price drop); Brumbaugh v. Wave Sys. Corp., 416 F. Supp. 2d 239,

255-56 (D. Mass. 2006) (loss causation properly predicated upon single disclosure of an SEC

investigation followed by a stock drop).

        Here, moreover, analysts tied SafeNet’s stock drop to concerns about accounting related

issues and investigations. For example, in response to the February 2 disclosures, analysts

focused on SafeNet’s “stealth restatement for 3Q 05” and “continued revenue recognition”

concerns (¶ 215), and raised concerns about “artificially inflated” financials. ¶ 216. See also

¶ 228 (analyst comment in response to May 18 disclosure stating “we believe that persistent

management credibility concerns along with the recent departure of its CFO will likely cause he

market to look at the situation through a ‘worst case scenario’ lens”).

        In sum, the disclosures of SafeNet’s accounting improprieties, CFO firing, and

government investigations into SafeNet’s options and other accounting practices have the

requisite causal connection to Defendants’ misconduct to plead causation under Rule 8.

                 4.       Defendants’ Theoretical Argument That Plaintiffs
                          Suffered No Loss Is Without Merit

        Despite Plaintiffs’ detailed allegations of price inflation and subsequent deflation directly

caused by the fraud, Defendants also argue that the Complaint somehow does not allege that

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     In Take-Two, on grounds equally applicable here, Judge Kram also distinguished two of the cases on which
Defendants rely, namely In re Avista Corp. Sec. Litig., 415 F. Supp. 2d 1214 (E.D. Wash 2005) and Weiss v. Amkor
Tech. Inc., 527 F. Supp. 2d 938 (D. Ariz. 2007). See Take-Two, 551 F. Supp. at 288-89.



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Plaintiffs actually suffered a loss, because some theoretical class member who bought at the very

beginning of the Class Period and sold on a fortuitous day might have made a profit. SafeNet Br.

at 16. Defendants hypothetical fact-intense scenarios are inappropriate on a motion to dismiss.

         However, a plaintiff need not sell his shares after the disclosure of the fraud in order to

suffer a loss. See IPO, 544 F. Supp. 2d at 289 (only materialization of the risk is necessary).

Defendants argument also ignores that after each disclosure that Plaintiffs rely on, SafeNet’s

stock price fell significantly (15.2% on February 3, 2006, 19.3% on April 7, 2006, and 22.3% on

May 19, 2006), a decline of over 55% in just over 2 ½ months. ¶ 227.

                  5.        Defendants’ Argument That The Complaint Fails to Parse the
                            Supposed Impact of “Confounding Factors” Is Without Merit

         Defendants next assert that to plead loss causation, Plaintiffs must “disaggregate the

confounding factors,” and must establish the amounts of loss attributable solely to disclosures

relating to Defendants’ fraudulent conduct (as opposed to losses that might conceivably

attributable to disclosures of unrelated facts). See SafeNet Br. at 16-17.

         In so arguing, Defendants rely heavily on Judge Rakoff’s comments at Argo’s sentencing

that, for purposes of imposing a criminal sentence, he could not determine on the record before

him the extent to which Argo’s options backdating misconduct had caused investors to suffer

damages. SafeNet Br. at 7-8, 16. However, the record before Judge Rakoff was devoid of any

expert testimony on loss causation submitted by the Government, leaving the Court to consider

only Argo’s unrebutted submissions on this issue.25 In these circumstances, and in the criminal

context, Judge Rakoff’s decision that he could not reliably determine the extent to which Argo’s

backdating related misconduct had caused investor losses was entirely understandable – but says

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     In this regard, the financial inability of defendant Argo to make restitution to investors for their losses in more
than a token amount doubtless influenced the prosecution’s decision as to whether it was an appropriate use of the
government’s limited resources to obtain a comprehensive expert analysis of loss causation issues.



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nothing as to the adequacy of Plaintiffs’ pleading of loss causation allegations in this civil action,

or how a jury would evaluate Plaintiffs’ expert opinions on a fully developed factual record.

       Indeed, in the civil context, it is well-established that a corrective disclosure need not

reveal “the precise loss attributable to [the] fraud.” See Lentell, 396 F.3d at 177. Similarly, “a

plaintiff is not required to plead that her economic loss was caused solely by the alleged

fraudulent scheme.” In re eSpeed Inc. Sec. Litig., 457 F. Supp. 2d 266, 297 (S.D.N.Y. 2006)

(emphasis in original); see also Openwave, 528 F. Supp. 2d at 253 (whether decline in price was

attributable to disclosure of backdating scheme or “was attributable to some other cause… is a

matter for proof at trial.”); Juniper, 542 F. Supp. 2d at 1049 (“while it may be true that other

factors contributed to the decline in the price of Juniper’s stock, [p]laintiffs’ allegations give

[d]efendants fair notice of the grounds upon which the § 10(b) claim rests”). Instead, decisions

as to whether particular disclosed matters were viewed by the market as related or unrelated to

the fraud, and any issues as to the extent to which losses were attributable to “confounding

factors,” are appropriately deferred to summary judgment or trial, after development of a full

factual record and accompanying expert testimony. See, e.g., Gebhardt, 335 F.3d at 831-32.

               6.      Defendants’ Arguments Based On Post-Class Period Stock
                       Movements (or Lack Thereof) Do Not Refute Loss Causation

       Defendants observe generally that after SafeNet announced it would need to restate its

financials, two months after the end of the Class Period, the stock ticked upward. SafeNet Br. at

6. Defendants fail to explain, however, why their post-Class Period disclosures of wrongdoing,

and the market’s flat response, are material to losses Plaintiffs suffered during the Class Period.

       The market’s reaction to SafeNet’s post-Class Period announcements about the need to

restate confirms that the Company’s earlier disclosures fully corrected Defendants’ prior

statements concerning the integrity of SafeNet’s financial statements. Moreover, the partial



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disclosures during the Class Period created the expectation that SafeNet, like many others,

would be forced to restate and recognize a material reduction of its previously reported income.

See In re Seitel Inc. Litig., 447 F. Supp. 2d 693, 711-13 (S.D. Tex. 2006) (denying motion to

dismiss where stock did not drop on announcement of restatement, but did drop due to other

disclosures). Here, SafeNet’s earlier corrective disclosures resulted in predictable market

declines, as the efficient market effectively signaled that it understood that these initial

disclosures foreshadowed expanded restatements and likely civil and criminal proceedings.

“[T]hat the stock price fell without more complete and detailed disclosure, if anything, only goes

to show that the tip of the iceberg was enough [to] cause the loss.” In re Bristol-Myers Squibb

Sec. Litig., 2005 WL 2007004, at *21 (D.N.J. Aug. 17, 2005). Simply put, by the time SafeNet

got around to announcing the expected restatement, they were merely confirming the material

risks that investors had anticipated from the earlier disclosures.26

         D.       The Complaint States Claims Under §§ 11, 12(a) and 14 of the Securities Act

                  1.       Scienter Is Not an Element of §§ 11, 12(a)(2) or 14(a) Claims

         Plaintiffs bring §11 and §14(a) claims against SafeNet and Caputo, Argo, Brooks, Thaw,

Hunt, Harrison and Clark (the “Rainbow Acquisition Defendants”), and §12(a)(2) claims against

SafeNet, Caputo and Argo. These Defendants argue that these claims are based in fraud and thus

subject to Rule 9(b) heightened pleading standard, and that Plaintiffs must thus plead scienter.

         Defendants’ argument, however, ignores the text of the Complaint. Plaintiffs plead fraud

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      See In re Parmalat Sec. Litig., 375 F. Supp. 2d 278, 307 (S.D.N.Y. 2005) (“That the true extent [of] the fraud
was not revealed to the public until February—after Parmalat shares were worthless and after the close of the Class
Period—is immaterial where, as here, the risk allegedly concealed by defendants materialized during that time and
arguably caused the decline in shareholder and bondholder value.”) (emphasis added); see also Bradley, 421
F. Supp. 2d at 829 (“A comparison of the price and trading volume reactions surrounding both the February 28 and
April 27 disclosures . . . suggest that the market corrected the price of Bradley’s stock price when the truth began to
leak out on February 28, 2005 and that by the time Bradley announced its restatement of earnings in April 2005
[after the class period], the market had already incorporated that the previously released financial statements could
not be relied upon.”) (emphasis added).



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and negligence as alternative theories, limiting the alternative negligence allegations only to

claims with respect to misstatements and omissions in the prospectus, registration statement and

proxies. Plaintiffs carefully excluded any allegations or language asserting or implying that

Defendants had any fraudulent intent - and only alleged that they were negligent - with respect to

the offering materials and proxy statements. ¶¶ 299, 307, 310, 326, 334. The mere inclusion of

allegations of fraudulent conduct alleged in separate claims does not automatically ground all of

Plaintiffs’ claims in fraud or subject them to Rule 9(b). In re Refco, Inc. Sec. Litig., 503

F. Supp. 2d 611, 632-33 (S.D.N.Y. 2007) (pleading one claim in fraud does not forfeit plaintiffs’

right to plead in the alternative that defendants violated provisions requiring only negligence);

M’Baye v. N.J. Sports Prod., Inc., 2007 WL 431881, at *11 (S.D.N.Y. Feb. 7, 2007) (same).27

This is especially true for Harrison and Clark, against whom no fraud claims are asserted.

         Defendants do not dispute that Plaintiffs adequately allege that they acted negligently as

to the §§11, 12(a)(2) and 14(a) claims. Moreover, even if the Court were to find that these

claims are based in fraud and are subject to Rule 9(b), Plaintiffs submit that they have still amply

pled scienter as to the Officer and Compensation Committee Defendants. See § II.B. supra.

                  2.       Loss Causation is Not an Element of §11 Claim

         Despite Defendants’ assertion, loss causation is not an element of a Section 11 claim

under the Securities Act.28 In re Flag Telecom Hldgs., Ltd. Sec. Litig., 411 F. Supp. 2d 377, 382

(S.D.N.Y. 2006) (“A plaintiff need only plead a material misstatement or omission in the

registration statement to establish a prima facie fraud claim under § 11 of the Securities Act; a

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      Rule 8(d)(2) provides: “a party may set forth two or more statements of a claim…alternatively…, either in a
single count…or in separate ones.” The Court may consider alternate claims, and as long as any claim is sufficient,
the pleading is sufficient. Id. In addition, pursuant to Rule 8(d)(3), a party may also state as many separate claims
as the party has regardless of consistency. See Marketplace LaGuardia Ltd. P’ship v. Harkey Enters., Inc. 2008 WL
905188, at *7 n.9 (E.D.N.Y. Mar. 31, 2008); Henry v. Daytop Vill., Inc., 42 F.3d 89, 95 (2d Cir.1994).
   28
      Plaintiffs concede that, unlike §11, loss causation is an element of a claim under §12(a)(2), but note that they
satisfy loss causation with respect to their §12(a)(2) claims for the same reasons as set forth in § II.C. supra.



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plaintiff is not required to plead loss causation.”); Adair v. Kaye Kotts Assocs., 1998 WL 142353,

at *7 (S.D.N.Y. Mar. 27, 1998) (“Loss causation is not an element of a § 11 claim.”) (collecting

cases).29

                  3.       Plaintiffs Sufficiently Allege Loss Causation under §14(a)

         A plaintiff must adequately allege loss causation to state a §14(a) claim. Grace v.

Rosenstock, 228 F.3d 40, 47 (2d Cir. 2000). Loss causation is adequately alleged “when the

plaintiff points to a material violation of the proxy rules in a situation where shareholder

approval was necessary for a company to complete an allegedly unfavorable transaction.”

Koppel v. 4987 Corp., 167 F.3d 125, 137 (2d Cir. 1999).

         Here loss causation is established because the false proxy statements prompted

shareholders approval of the Rainbow Acquisition and allowed unfavorable option grants to

continue. In re AOL Time Warner, Inc. Sec. & “ERISA” Litig., 381 F. Supp. 2d 192, 231

(S.D.N.Y. 2004) (§14(a) loss causation satisfied where defendants’ actions artificially propped

up the price of securities that were purchased or otherwise acquired by class members pursuant

to merger proxy). Plaintiffs thus sufficiently allege loss causation as a result of the 2003 through

2005 Proxy Statements and the Rainbow Proxy/Prospectus. See, e.g., ¶¶ 306, 325.

                  4.       Plaintiffs Sufficiently Allege Transaction Causation for
                           § 14 (a) Claim

         Transaction causation is an element of a § 14(a) claim, and is shown “where the


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      Defendants cite In re Merrill Lynch & Co., Inc. Research Reports Sec. Litig., 272 F. Supp. 2d 243, 253-55
(S.D.N.Y. 2003) for the proposition that Plaintiffs cannot recover for a decline in the market caused by factors other
than the disclosure of the alleged misstatements to the market. The decision in Merrill is questioned by the court in
Levine v. AtriCure, Inc., 508 F. Supp. 2d 268, 273-74 (S.D.N.Y. 2007) on this very issue (noting that the Merrill
court cited no other cases in which a Rule 12(b)(6) motion to dismiss was granted based on the absence of loss
causation in a § 11 claim). Further, on reconsideration in In re WRT Energy Sec. Litig., 2005 WL 2088406, at *1
(S.D.N.Y. Aug. 30, 2005), the court vacated its earlier decision on a Rule 12(b)(6) motion and allowed plaintiffs to
assert a § 11 claim for damages for declines in share value prior to the first alleged disclosure. Thus, § 11 can be
said to create a factual presumption that “any decline in value is ... caused by the misrepresentation in the
registration statement.” McMahan & Co. v. Wherehouse Entm’t, Inc., 65 F.3d 1044, 1048 (2d Cir.1995).



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challenged proxy statement ‘was an essential link in the accomplishment of the transaction.’”

Grace, 228 F.3d at 47. Count V of the Complaint asserts that “the 2003 through 2005 Proxy

Statements were an essential link in the accomplishment of the continuation of Defendants’

unlawful stock option administration,” and that “revelations of the truth would have immediately

thwarted a continuation of shareholder’s endorsement of the directors’ positions, the executive

officers’ compensation and [SafeNet’s] compensation policies including the 2003 amendments to

expand the number of shares authorized under the stock option plan.” ¶ 305. These allegations

are sufficient. See Brayton v. Ostrau, 561 F. Supp. 156, 162 (S.D.N.Y. 1983) (transaction

causation should be sustained when it challenges a transaction which was the subject of the

proxy materials, such as approval of a merger or the election of corporate directors).

        Count VI of the Complaint similarly alleges that the Rainbow Proxy/Prospectus

misrepresented SafeNet’s financial results (¶¶ 319, 321) and stock option granting policy

(¶¶ 320, 321), and justified the Board’s acceptance of the exchange ratio for the merger

agreement on the basis of these misrepresentations. ¶ 315. Thus, there can be no legitimate

dispute that this proxy and prospectus were an “essential link” in the completion of the merger.

        E.       The Complaint States Claims for Control Liability

        A claim under Sections 15 or 20(a), requires allegations of (a) a primary violation by a

controlled person, and (b) direct or indirect control by the defendant of the primary violator. See

Global Crossing, 322 F. Supp. 2d at 349.30

        The first prong is satisfied, as here, by pleading a §10(b) or §14(a) claim for a §20(a)

violation, and a §11 or §12(a)(2) claim for a §15 violation. Leykin v. AT & T Corp., 216 F.


  30
     Plaintiffs bring §15 claims against the Rainbow Acquisition Defendants; they also bring §20(a) claims against
the Officer and Compensation Committee Defendants for their role in the options backdating and (with respect to
the Officer Defendants only) non-options aspects of the alleged accounting fraud.



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App’x 14, 17 (2d Cir. 2007); Lanza v. Drexel & Co., 479 F.2d 1277, 1298 (2d Cir. 1973). The

second prong, control over a primary violator, may be established by showing that the defendant

possessed “the power to direct or cause the direction of the management and policies of a person,

whether through the ownership of voting securities, by contract, or otherwise.” Waldman ex rel.

Elliott Waldman Pension Trust v. Riedinger, 423 F.3d 145, 151 (2d Cir. 2005).31

         Only Harrison and Clark contest that they are “controlling persons.” However, both

served as directors of the Company, and during the Class Period signed SafeNet’s Form 10-Ks

and authorized and permitted the use of their names in the 2003-2005 proxies. ¶¶ 35, 36. See

Jacobs v. Coopers & Lybrand, LLP, 1999 WL 101772, at *9 (S.D.N.Y. Mar. 1, 1999) (common

sense to presume that person who signs his name to a report has some measure of control over

those who write report). Plaintiffs also allege that Clark and Harrison, as Rainbow Acquisition

Defendants, were in the position to (and did) control the issuance of false and misleading

statements in the Rainbow Proxy/Prospectus; and negotiated the terms of the acquisition and met

repeatedly to “approve SafeNet’s pursuit of the Rainbow Acquisition and solicitation of

shareholder approval of the acquisition.” ¶ 346.

                                                CONCLUSION

         For the foregoing reasons, Defendants’ motions to dismiss should be denied.




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      Second Circuit law is unsettled as to whether “culpable participation” must also be pled to allege a §20(a)
claim. See In re WorldCom, Inc. Sec. Litig., 294 F. Supp. 2d 392, 414-16 (S.D.N.Y. 2003) (discussing conflict and
finding no state of mind required); Pension Comm., 446 F. Supp. 2d at 190-91 (plaintiff need not affirmatively plead
culpability or scienter on part of control person). However, even if pleading culpable participation is required to
state a §20(a) claim, it should not be equated to pleading scienter. See, e.g., IPO, 241 F. Supp. 2d at 392-97
(“although the meaning of ‘culpable participation’ is unclear, there is strong reason to believe it is not the same as
scienter”); WorldCom, 294 F. Supp. 2d at 415, 419-20 (pleading of control person claims governed by Rule 8
pleading standard). In any event, as set forth above, the Complaint adequately alleges the §20(a) defendants’
culpability. See § II. B., supra.



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